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               Exhibit – A / Emails




 App. 006
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Michael Mirando

From:                 WarLawyer@aol.com
Sent:                 Tuesday, November 1, 2016 5:08 PM
To:                   mike@holterlabs.com
Subject:              discovery


Mike,

Dropped a stick in the mail fed ex for delivery tomorrow. Did a cursory spin through and it is all Cast and civil....

Have me an outline of all that is in there by Friday......

And with this case moving along as it will, get the trust account with another payment.

Kevin Barry Mc Dermott, Esq.

Law Offices of Kevin Barry Mc Dermott
300 Spectrum Center Drive Suite 1420
Irvine, California 92618

949-596-0102
949-861-3825 facsimile
WarLawyer@aol.com
WarLawyer.com

(please note – as of February 2, 2015, our building address changed from 8001 Irvine Center Drive to 300 Spectrum
Center Drive due to a local street readdressing. This is an address change only, not a physical relocation of our offices.)

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Michael Mirando

From:               Michael Mirando <mike@holterlabs.com>
Sent:               Thursday, November 3, 2016 12:54 PM
To:                 WarLawyer@aol.com
Cc:                 mike@mirandofamily.com
Subject:            Mirando Discovery Overview

Importance:         High



** Attorney – Client Privileged Communication **

Kevin,

Here is a breakdown, folder by folder, regarding the contents of the flash-drive that you sent me yesterday. We
need to go over this in more detail, but this should shine some light on the contents. I also broke down the page
count of each folder; lots of garbage and redundant pages.

1_Cardiac Device from Dr Simpkins (7 items, 8 total pages)
This folder contains pictures of my cardiac monitor and its belt holder that was used by one of my accounts; Dr.
Ruby Simpkins, MD in Los Angeles. This device was confiscated by the investigator.

2_Cast v Mirando (13 items, 209 total pages)
This folder contains documents pertain to the civil suit including but not limited to the original complaint,
amended complaint, cross complaint, case summary and judgment.

3_Websites (5 items, 6 total pages)
This folder contains screenshots of my website, www.holterlabs.com.

4_Database Queries (26 items, 152 total pages)
This folder contains background checks done on myself Jim Cast and Stan Crowley. Stan Crowley was arrested
on 08/21/1993 for the charge of Aggravated Battery/Great Bodily Harm. My background check came up clear
with no criminal history. There was also a query on firearms owned of which came back positive as he and I
both own firearms. There was also a request to see how frequently I travel out of the country.

This folder also contains queries on any business filings such as Holter Labs LLC, Holter Labs Inc, Finzer LLC
and Pelagic Properties, LLC. We started out as Holter Labs, LLC and shortly after I moved to Oregon, at the
advice of my accountant, I changed company tax designation from an LLC to an S-Corp. This is why we are
now Holter Labs, Inc (formally LLC) and with this change, we also changed our Tax ID. Finzer and Pelagic
Properties are LLC’s for the purpose of real estate investments and rental properties. I use to have Pelagic
Properties of NC, Pelagic Properties or SC and Pelagic Properties of MS for the rentals that I owned in those
states. I still own the properties, but they are now in my name (for refinance purposes) and I no longer use the
aforementioned names or LLC’s.

They have a query for all companies with ‘Pelagic’ and ‘Finzer’. Many came up, but I am only affiliated with
Finzer, LLC (primary residence) and Pelagic Properties, LLC. These are both LLC located in the state of
Oregon. They also have “West Coast Home Solutions” and “West Coast Real Estate Holdings” to which I am
NOT affiliated with. West Coast Home Solutions is


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owned by my contractor that remolded my home in Portland in 2011. “TL Remodel” is owned by another
contractor buddy that has done some work for me in the past as well as some “Fix and Flips”.

5_Holterlabs.com Screenshots (9 items, 15 total pages)
This folder contains more screen shots of my website www.holterlabs.com.

6_Godaddy.com (7 items, 253 total pages)
This folder contains a court order and responses sent to GoDaddy.com to provide contact information and
activity on who owns and operates www.holterlabs.com. I purchased our company domain name and others via
my GoDaddy account.

7_Health Markets (1 item, 1 page)
This folder contains an e-mail letter sent to Special Kathleen Kennedy from ‘HealthMarkets’ stating that they
could not find and billing records related to our company. I have no idea who or what ‘HealthMarkets’ is all
about.

8_Holter Labs Inventory (83 items, 214 total pages)
This folder contains invoices of when we purchased equipment and supplies from IntriCon Datrix, Lynn
Medical, Lead-Lok and Vermed. This folder also includes an interview with Jon Barron, General Manager of
IntriCon Datrix stating that we purchased recorders through Lynn Medical and that they have done some repairs
for our company in the past. This is all true. Jon Barron also explains the functionality of our device. Below is
an excerpt from the Interview. I was told that this equipment could perform all of these tests.
From File: Interview_of_Jon_Barron,_General_Manager,_Intricon_Datrix_Redacted.pdf
“Datrix has not filed with the FDA that an intended use of the DR512
model was to perform microvolt T-wave alternans for the assessment of
ventricular arrhythmia. BARRON noted that the device is capable of
performing such a test but it would need software that would be capable of interpreting the data collected to
perform such an assessment. BARRON knows that Caird Technology's software is not capable of performing a
microvolt T-wave.”

9_Interviews (104 items, 457 total pages)
This folder contains immunity agreements, copies of marketing fliers (the same one the Crowley and Burns new
company copied), copies of a spreadsheet containing contacts, patient name and physician phone numbers. This
was a file that I made to keep track of our practices. No direct billing information or HIPAA info was contained
in this document. This folder also contains e-mails and interview notes with Stan Crowley, Jim Cast, two
practice managers and nine patients. Most of the patients’ state that they wore a monitor but could not
remember if their insurance was billed or if they saw a related EOB (Explanation of Benefits) from their
insurance carrier. The same Jon Barron (General Manager of IntriCon Datrix) interview as stated above has
been in three different locations on this flash drive. Most of the documents contain redundant e-mail threads
between Crowley and Special Agent Kathleen Kennedy.

Regarding the dates of the aforementioned interviews, The Jon Barron interview took place in March 2014, the
patient interviews took place in April of 2014. The Jim Cast interview took place in October of 2015 and the
Crowley interviews date back to 2013 if not earlier. The two practice managers’ interviews took place in March
2016; one month before the indictment.

Cast Interview: From File: Interview of Jim Cast_Redacted.pdf
Cast admits to working with Crowley at their former company (they also attended the same High School) and
they were both involved in the qui tam lawsuit for improper billing. Cast also states that his responsibilities at
Holter Labs was sales and submitting claims. Cast states that he “could not recall” any discussion with Mirando
about the proper codes in which to bill. This is a lie. He is the one who set up the billing software and taught me
                                                         2

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      Case 2:23-cv-04498-PA           Document 1-3        Filed 06/05/23      Page 5 of 156 Page ID #:41

how to submit claims and what codes to bill if others do not get paid. Other parts of the interview contain some
inaccurate information that it would be easier to explain when we review these documents in person when I fly
down.

Crowley Interview: From File: 2013 09 17.Interview_of_Stanton_Ross_Crowley_Redacted.pdf
The first item that stands out is that Crowley states the he approached me to start this business. This is a lie; it
was the other way around. I had a successful career working for Intel at the time and Crowley approached me
stating that we would like to start a business. This was occurred sometime in 2004 in our condo complex in
Aliso Viejo where we lived as neighbors.

Crowley stated that Mirando did NOT have prior experience in the Holter business. Crowley also states that
Cast responsibilities would be to answer phone and handle the medical billing. Crowley also states that he
believed “Mirando learned how to submit the medical claims to insurance companies from Cast”. Crowley also
lied about Mirando being the only one that wanted Cast out after he did not meet his capital contribution; we
BOTH wanted him out. “CROWLEY did not have an opinion either way as to CAST’s removal from HL”.

Another lie that Crowley brought up (page 3 of 8) was that I shredded all of the paper claims before I left to
Oregon. This is a complete lie. Any and all paper claims were out of my possession when I physically submitted
them to the insurance companies via mail. There was nothing to shred. I did not sherd any documents as
Crowley as stated. Crowley also states in the same paragraph that “CROWLEY recalled seeing some of the
billing and he did not notice anything unusual or inaccurate in the billing”. I thought that he had nothing to do
with the billing? This proves that he had access.

Crowley states (page 4 of 8) that I was a “good friend” with ‘Jim Brown’ our software supplier and now
technician that works for me upon Crowley departure. We are NOT good friends, just business associates. Jim
Brown (resides in South Carolina) complies all of the reports and develops the scanning software that renders
the reports to the ordering physicians. I have met Jim Brown one time when I was living in CA and we speak
about once a week regarding business only.
Other parts of the interview contain some inaccurate information - even more than that of the Cast interview -
that it would be easier to explain when we review these documents in person when I fly down. Some of which
are lies about me possessing Fully Automatic weapons and statements that I did not make. We can go over this
on more detail when I see you next. Ear mark the aforementioned document.

10_Interviews with Beneficiaries (4 items, 5 total pages)
This folder contains four interviews with patients. All patient interviews contained in this folder are duplicates
to that of four by the same name located in “9_Interviews” folder.

11_Murrieta Medical Supply (2 items, 3 total pages)
This is a DBA that I started in January 2007 that is no longer in use. I will tell you the reason why when I speak
to you in person.

12_Request for Investigative Assist. Enrollment (2 items, 11 total pages)
This folder requested provider enrollment records from insurance companies Aetna, Anthem, Cigna and Optum.
All four companies responded that they have no contracts with Holter Labs or Michael Mirando.

13_Surveillance (6 items, 11 total pages)
This folder contains Physical Surveillance notes that was put on my primary residence in May of 2016 for the
purpose of a tentatively scheduled search and arrest warrant that was to take place on May 25th, 2016.

Thanks,


                                                           3

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     Case 2:23-cv-04498-PA       Document 1-3      Filed 06/05/23   Page 6 of 156 Page ID #:42
Michael Mirando
949-466-3015
** Attorney – Client Privileged Communication **




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Michael Mirando

From:                 WarLawyer@aol.com
Sent:                 Thursday, November 10, 2016 9:49 AM
To:                   'mike@holterlabs.com'
Subject:              Re: Medicare Approval Letter


Got all of the files from the civil case today. Will start going through.
This e-mail is big.
In a message dated 11/10/2016 9:47:34 A.M. Pacific Standard Time, mike@holterlabs.com writes:

Kevin,




I found this e-mail that I sent to Medicare in 2014 when we starting billing for our services. We did not bill Medicare when I
was with Stan Crowley nor are they accusing me of billing Medicare in the incitement. In the attached e-mail, I specially
asked if we are approved to bill for some codes that the government is accusing me of wrongfully billing. Stating our
devices could not perform these procedures. They gave me permission as you can see. In order to get this far, they already
audited our reports and equipment and we passed. This shows that I thought I was doing the right thing all along.




Like I have said before, I have no idea on what these devices can do or not do. Stan and now Jim Brown do all of the
scanning of the cardiac data from our recorders. I just run the business and bill for services that we provide.




I do not want to open up a can of worms or jet jammed-up and have them look in to my Medicare billing after Stan’s
departure. In the event you are wondering, we never billed Medicare when Stan was with me because he stated that he does
not have nor could pass the certification that Medicare requires for us to get past the application approval process. Now, I do
not know if this was motive or bull-shit. We are now certified (via Jim Brown) and bill Medicare.




Just an FYI to use as more ammo if needed. You should be receiving that USB stick tomorrow. The attached e-mail is NOT
on that stick.




Thanks,




Michael Mirando

Holter Labs, Inc

-----------

P: 888-821-4667

C: 949-466-3015

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     Case 2:23-cv-04498-PA   Document 1-3   Filed 06/05/23   Page 8 of 156 Page ID #:44
F: 888-821-4677

E: mike@holterlabs.com




                                            2

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Michael Mirando

From:               MARTIN.A.SMITH@palmettogba.com
Sent:               Wednesday, December 31, 2014 8:52 AM
To:                 mike@holterlabs.com
Subject:            RE: Holter Labs Questions



All rejected claims will need to be resubmitted.


Andy Smith
Palmetto GBA
J11 MAC
Provider Enrollment Analyst
Direct dial - 803-763-0180
http://www.palmettogba.com/disclaimer

From: Michael Mirando <mike@holterlabs.com>
Sent: Wednesday, December 31, 2014 11:47 AM
To: MARTIN A SMITH
Subject: RE: Holter Labs Questions

Great. Will I need to resubmit the claims that were previously submitted with the newly added codes? Or will
they be automatically retroactively processed?


‐Michael Mirando
 (sent via phone)


‐‐‐‐‐‐‐‐ Original message ‐‐‐‐‐‐‐‐
From: MARTIN.A.SMITH@palmettogba.com
Date:12/31/2014 8:32 AM (GMT‐08:00)
To: mike@holterlabs.com
Subject: RE: Holter Labs Questions

You will need to contact the MY MAC at 855‐696‐0705 regarding the hardcopy statements.
As for the other, they have been added and it appears the letter was just mailed today.
Have a great new years


Andy Smith
Palmetto GBA
J11 MAC
Provider Enrollment Analyst
Direct dial - 803-763-0180
http://www.palmettogba.com/disclaimer


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       App. 014
           Case 2:23-cv-04498-PA        Document 1-3       Filed 06/05/23     Page 10 of 156 Page ID
                                                        #:46
   From: Michael Mirando <mike@holterlabs.com>
   Sent: Wednesday, December 31, 2014 10:04 AM
   To: MARTIN A SMITH
   Subject: Holter Labs Questions

   Hey Andy,

   Two questions before you leave for the new year =)

1. How do we sing up for “Paperless Statements”. We DO NOT wish to receive hard copy statements on our
   billing. My third party service already provides me with online statements so how do we STOP the paper
   statements in regarding to billing?

2. Can you please verify if we are approved to bill the following codes? We have not received any motives yet.
                 Codes: 93229, 93271 (direct codes, no modifier needed)

   I hope that you are having a great Holiday Season.

   Thanks,

   Michael Mirando
   Holter Labs
     -------------
   Main: 888-821-4667
   Cell: 949-466-3015
   E-Mail: mike@holterlabs.com
   Web: www.HolterLabs.com




                                                          2

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                                                           #:47

Michael Mirando

From:                WarLawyer@aol.com
Sent:                Friday, January 27, 2017 10:41 AM
To:                  mike@holterlabs.com
Subject:             Expert witness
Attachments:         20161010ExpertRetentionAgreement-BLANKhmb10.docx; 20161021ExpertMichaelArrigoCases.pdf;
                     20161114MichaelArrigoExpertCV.pdf


Michael,

After you have reviewed the attached, please give me a call. I have interest a half dozen experts on the topic of health
care billing and codes and Dr. Michael Arrigo is top of the line and one that the government has had to deal with a number
of times in the past. I want to jump on this asap and get him started next week.

Talk soon.

S/

Kevin Barry Mc Dermott, Esq,

Law Offices of Kevin Barry Mc Dermott
300 Spectrum Center Drive, Suite 1420
Irvine, California 92618


949-596-0102
949-861-3825 facsimile
WarLawyer@aol.com
WarLawyer.com

(please note – as of February 2, 2015, our building address changed from 8001 Irvine Center Drive to 300 Spectrum
Center Drive due to a local street readdressing. This is an address change only, not a physical relocation of our offices.)

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                   DRAFT Case List for Expert Witness Michael F. Arrigo

           Key: (P) = retained by plaintiff, (D) = retained by defense (R) = retained by Relator




                   Michael F. Arrigo Expert Witness Litigation Experience
                                      October 21, 2016

                                     Not for Publication
                                             DRAFT
            This document is for discussion purposes only between Mr. Arrigo and
          prospective retaining counsel. It is not to be used as a representation of Mr.
                    Arrigo’s testimony for any particular case in any venue




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                                  DRAFT Case List for Expert Witness Michael F. Arrigo

                      Key: (P) = retained by plaintiff, (D) = retained by defense (R) = retained by Relator


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                    Key: (P) = retained by plaintiff, (D) = retained by defense (R) = retained by Relator


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                      Key: (P) = retained by plaintiff, (D) = retained by defense (R) = retained by Relator


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                                    DRAFT Case List for Expert Witness Michael F. Arrigo

                       Key: (P) = retained by plaintiff, (D) = retained by defense (R) = retained by Relator


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  Section I – Healthcare: Complex Cases, Class Actions, Qui
  Tam Whistleblower cases (False Claims Act, HITECH Act,
  Affordable Care Act, HIPAA, etc.)
      A. HIPAA Privacy and Security, Physical Security, Proper Screening of Health
         Care Workers
  •   (P) Graewingholt et al v St. Josephs’ Health System - Judicial Council
      Coordinated Proceeding No. 4716 Master Class Action Complaint in Superior Court
      of the State of California, County of Orange - class action before Honorable Kim G.
      Dunning, 8 Dep’t CX 104; filed conditionally under seal per CRC 2.551 class action
      litigation related to HIPAA privacy and security breach involving $8 billion health
      system, disclosures under HIPAA Privacy and Security, California Confidentiality of
      Medical Information Act (CA Civil Code §56 et seq.) Opinions: laws, best practices
      and procedures for privacy and security, duty to keep records protected, ICD-9,
      DRG, CPT coding, and pricing, and economic impact. Third party FOIA discovery
      with CMS, OIG, OCR, related contractors, ARRA HITECH Act and Meaningful Use
      attestations and payments. Review of 31,000 patient records for CMIA medical data
      stored in Meditech, including diagnosis codes, problem lists, lab data, BMI and other
      HIPAA PHI. Statutes and best practices including:

         •   HIPAA Privacy and Security (45 CFR §162.1002 45 CFR §164.308
             (subsections)),
         •   45 CFR §164.410 (subsections), notification by a business associate
         •   45 CFR §164.502 (subsections), Uses and disclosures of protected health
             information
         •   45 CFR 164.512 - Uses and disclosures for which an authorization or
             opportunity to agree or object is not required, especially § 164.512(j)(1) Uses
             and disclosures to avert a serious threat to health or safety and §
             164.512(j)(2-4) Use or disclosure not permitted.
         •   45 CFR §170.314 (subsections); electronic health record certification criteria



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             (Meaningful Use)
         •   31 U.S.C. § 3729. (a) False Claims Act;
         •   California Confidentiality of Medical Information Act (CA Civil Code §56 et
             seq.)
         •   ARRA HITECH Act reporting procedures and documentation, attestations and
             stimulus funds eligibility based on evaluation of over 33 measures,
             information safeguards, operating procedures.
         VERDICT / OUTCOME: SETTLEMENT AFTER MY DESIGNATION AND
         REPORT BUT IMMEDIATELY BEFORE MY TESIMONY AT TRIAL,
         PENALTIES AGAINST DEFENDANT ST. JOSEPH’S HEALTH SYSTEM
         OF OVER $30 MILLION


  •   (P) Premera Blue Cross Customer Data Breach Litigation - Case No. 3:15-md-
      2633-SI class action litigation related to HIPAA privacy and security breach
      involving breach of 11 million records at multi $billion health plan, disclosures under
      HIPAA Privacy and Security, Opinions: industry best practices and guidelines for
      privacy and security, duty to keep records protected, ARRA HITECH Act and
      Meaningful Use attestations and payments. Review of subsection of 11,000,000
      patient records, including diagnosis codes, problem lists, lab data, BMI and other
      HIPAA PHI. Statutes and best practices including:

         •   HIPAA Privacy and Security (45 CFR §162.1002 45 CFR §164.308
             (subsections)),
         •   45 CFR §164.410 (subsections), notification by a business associate
         •   45 CFR §164.502 (subsections), Uses and disclosures of protected health
             information
         •   45 CFR §170.314 (subsections); electronic health record certification criteria
             (Meaningful Use)
         •   31 U.S.C. § 3729. (a) False Claims Act;
         •   ARRA HITECH Act reporting procedures and documentation, attestations and



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             stimulus funds eligibility based on evaluation of over 33 measures,
             information safeguards, operating procedures.
         •   HIPAA Covered Entities and Business Associates, Business Associate
             Agreements.
    •   (D) Confidential Plaintiff v. Pasadena School District, BC 457 096 Superior
        Court of the State of California for the County of Los Angeles. HIPAA privacy and
        security, disclosures under HIPAA Privacy and Security. Opinions: laws, best
        practices and procedures for privacy and security, duty to keep records protected,
        whether there is a duty to disclose records. Relevant statutes and best practices
        include: 45 CFR 164.512 - Uses and disclosures for which an authorization or
        opportunity to agree or object is not required, especially § 164.512(j)(1) Uses and
        disclosures to avert a serious threat to health or safety and § 164.512(j) (2-4) Use
        or disclosure not permitted (Tarrasoff standard)



    •   (P) R.D., a Pseudonym, Individually, Plaintiff, vs. Providence Family
        Medicine Manito Clinic d/b/a/ Providence Physician Services, Co,
        Providence Health Services et al, 14-2-33747-7 SEA in The Superior Court of
        the State of Washington in and for the County of King – HIPAA privacy and
        security breach involving alleged unauthorized breach of HIV diagnosis at multi-
        billion-dollar health system, disclosures under HIPAA Privacy and Security.
        Examine EPIC EMR and Onbase implantation compliance according to industry
        best practices and guidelines. Opinions: laws, best practices and procedures for
        privacy and security, duty to keep records protected, , related contractors, ARRA
        HITECH Act and Meaningful Use attestations and security best practices. Potential
        citations of statutes and cases including:

         •   HIPAA Privacy and Security (45 CFR §162.1002 45 CFR §164.308
             (subsections)),
         •   45 CFR §164.410 (subsections), notification by a business associate




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        •   45 CFR §164.502 (subsections), Uses and disclosures of protected health
            information
        •   45 CFR §170.314 (subsections); electronic health record certification criteria
            (Meaningful Use)
        •   31 U.S.C. § 3729. (a) False Claims Act;
        •   ARRA HITECH Act reporting procedures and documentation, attestations and
            stimulus funds eligibility based on evaluation of over 33 measures,
            information safeguards, operating procedures.
        •   Joint Commission standards for healthcare staffing firms, Medicare and
            Medicaid eligibility Conditions of Participation (CoPs) or Conditions for
            Coverage (CfCs)
        •   Wash. Admin. Code § 246-455-080 Security and Release of Reported
            Hospital Patient Discharge Data
                 (2) … security and system safeguards to prevent and detect unauthorized
                access, modification, or manipulation of individually identifiable health
                information. Accordingly, the safeguards will include:
                          (a) Documented formal procedures for handling the information;
                          (b) Physical safeguards to protect computer systems and other
                          pertinent equipment from intrusion;
                          (c) Processes to protect, control and audit access to the
                          information;
                          (d) Processes to protect the information from unauthorized access
                          or disclosure when it is transmitted over communication networks;
                          (e) Processes to protect the information when it is physically
                          moved from one location to another;
                          (f) Processes to ensure the information is encrypted when:
                          (i) It resides in an area that is readily accessible by individuals who
                          are not authorized to access the information (e.g., shared network
                          drives or outside the agency data centers);




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                               (ii) It is stored in a format that is easily accessible by individuals
                               who are not authorized to access the information (e.g., text files
                               and spreadsheets);
            •    Wash. Rev. Code § 70.02.170 Civil remedies
    •   (D) Confidential Plaintiff (Jane Doe) v. Brigham and Women’s
        Hospital. C.A. No. 2014-0007-B Suffolk Superior Court, Massachusetts. Evaluate
        whether best practices in HIPAA Privacy and Security were used to prevent HIPAA
        privacy breach. Opinions: laws, best practices and procedures for privacy and
        security, duty to keep records protected. Third party FOIA discovery with CMS,
        OIG, OCR, related contractors, ARRA HITECH Act and Meaningful Use
        attestations patient portal security best practices. Potential citations of statutes and
        cases including:

        •       Massachusetts State Statute: Standards for the Protection of Personal
                Information of Residents of the Commonwealth, as set forth in M.G.L. c. 93H
                and 201 C.M.R. 17.00, et seq HIPAA Privacy and Security (45 CFR §162.1002
                45 CFR §164.308 (subsections)),
        •       45 CFR §164.502 (subsections), Uses and disclosures of protected health
                information
        •       45 CFR §170.314 (subsections); electronic health record certification criteria
                (Meaningful Use)


    •   (P) Madden v. Radiology Regional. Class Action in and for the Twentieth
        Judicial Circuit in and for Lee County Florida involving a breach of PHI by a
        records disposal company resulting in unauthorized disclosure of thousands of
        patient records.

                o Federal laws including but not limited to the Health Insurance Portability
                   and Accountability Act (HIPAA Privacy Rule 45 CFR Part 160 and
                   Subparts A and E of §164, and HIPAA Security Rule 45 CFR §160 and




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               Subparts A and C of §164),

           o implementation of information safeguards 45 CFR 164.530(c),

           o securing proper arrangements for disposal of PHI under 45 CFR 164.308(b),
               164.314(a), 164.502(e), and 164.504(e),

           o proper workforce training under 45 CFR 164.306(a)(4), 164.308(a)(5), and
               164.530(b) and (i) and

           o State laws, including but not limited to the Florida Deceptive and Unfair
               Trade Practices Act (FDUTPA),

           o The Florida Information Protection Act of 2014 (FIPA), and notification
               provisions of Fla. Stat. § 501.171.

           o Radiology Regional’s workforce including but not limited to agents,
               subcontractors, or employees failed to comply with requirements for HIPAA
               covered entities that acquire, maintain, store or use personal information, to
               properly monitor, maintain, safeguard and protect the PHI pursuant to
               industry best practices, guidelines, policies and procedures and to undertake
               all reasonable measures to mitigate harm to affected patients by failing to
               notify them within 30 days.

    •   (P) Plaintiffs v. 21st Century Oncology. Class Action in and for the Twentieth
        Judicial Circuit in and for Lee County Florida involving a breach of PHI by a
        records disposal company resulting in unauthorized disclosure of millions of patient
        records.

           o Best practices to comply with Federal laws including but not limited to the
               Health Insurance Portability and Accountability Act (HIPAA Privacy Rule
               45 CFR Part 160 and Subparts A and E of §164, and HIPAA Security Rule
               45 CFR §160 and Subparts A and C of §164),




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           o implementation of information safeguards 45 CFR 164.530(c),

           o securing proper arrangements for disposal of PHI under 45 CFR 164.308(b),
               164.314(a), 164.502(e), and 164.504(e),

           o proper workforce training under 45 CFR 164.306(a)(4), 164.308(a)(5), and
               164.530(b) and (i) and

           o State laws, including but not limited to the Florida Deceptive and Unfair
               Trade Practices Act (FDUTPA),

           o The Florida Information Protection Act of 2014 (FIPA), and notification
               provisions of Fla. Stat. § 501.171.

           o Radiology Regional’s workforce including but not limited to agents,
               subcontractors, or employees failed to comply with requirements for HIPAA
               covered entities that acquire, maintain, store or use personal information, to
               properly monitor, maintain, safeguard and protect the PHI pursuant to
               industry best practices, guidelines, policies and procedures and to undertake
               all reasonable measures to mitigate harm to affected patients by failing to
               notify them within 30 days.

    •   (D) Billrite billing solutions, Inc. v Vinay M. Reddy, MD, individually and
        doing business as Spine and & Nerve Diagnostic Center. 34-2014-00166608
        SUPERIOR COURT OF THE STATE OF CALIFORNIA COUNTY OF SACRAMENTO-
        serve as expert consultant regarding billing practices and HIPAA Privacy and
        Security practices in a case involving outsourced medical billing. Opinions
        regarding 45 CF § 164.402(1) definition of Breach, exclusions for good faith and
        inadvertent disclosures; 45 CFR 160.103(4)(3) definition of HIPAA Covered Entity
        and duties; policies and procedures to address security incidents. This includes (i)
        identifying and responding to suspected or known security incidents, (ii) mitigating,
        to the extent practicable, harmful effects of security incidents that are known to the




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         covered entity, and (iii) documenting security incidents and their outcomes. (See 45
         CFR 164.308(a)(6).) obtain satisfactory assurances to protect ePHI (164.314(a));
         HITECH Act of 2009, a BA's disclosure, handling and use of PHI must comply
         with HIPAA Security Rule and HIPAA Privacy Rule mandates. Industry best
         practices and guidelines regarding Business Associates, Business Associate
         Agreements.



         VERDICT / OUTCOME: AFTER MY DECLARATION COURT ORDERED
         OPPOSING PARTY TO RELEASE ALL RECORDS AND NOT USE HIPAA AS
         AN EXCUSE TO FAIL TO PRODUCE INFORMATION. CASE IS ONGOING.

    •    (P) U.S. DOJ Investigation: Attorney General v. Confidential Electronic
         Health Record Software Firm - - Prepare and deliver presentation before AUSA,
         OIG, HHS and FBI re: investigation into Meaningful Use of Electronic Health
         records (ONC certification of software and CMS, Medicaid Attestations) related to
         potential litigation in to False Claims Act. Retained by DOJ to assist in
         investigation related to $30 billion in stimulus funds paid to health care providers,
         facilitated by statements and attestations made by electronic health records
         companies.

        45 CFR §170.314 (subsections); 45 CFR §170.304 electronic health record
        certification criteria (Meaningful Use)
        HIPAA Privacy and Security Assessments and HITECH Act to ensure the privacy
        and security and safeguarding of information.
        Accuracy of clinical information
        31 U.S.C. § 3729. (a) False Claims Act with respect to IT systems, processes and
        people to maintain accurate records.


    •    (P) Jane Doe vs United Medical Center a/k/a Not-For-Profit-Hospital and
         Innovative Staffing Solutions. Opinions regarding industry best practices and



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       guidelines for health care providers and the Certification Review Process / Health
       Care Staffing Services Certification Personnel File Review. Joint Commission
       standards for healthcare staffing firms, Medicare and Medicaid eligibility
       Conditions of Participation (CoPs) or Conditions for Coverage (CfCs)
  1. Current licensure, certification, or registration required by the state, the firm, or
     customer from primary sources
  2. Education and training associated with residency or advanced practice, experience,
     and competency appropriate for assigned responsibilities
  3. Clinical work history/references
  4. Initial and ongoing evaluation of competency
  5. Information on criminal background according to law, regulation, and customer
     requirements
  6. Compliance with applicable health screening and immunization requirements
     established by the firm or customer
  7. Information on sanctions or limitations against an individual’s license is reviewed
     upon hire, and upon reactivation or expiration. For
  8. individuals who are practicing as Licensed Independent Practitioners, in addition to
     the aforementioned requirements, the firm performs the following according to law,
     regulation, and firm policy: Voluntary and involuntary relinquishment of any license
     or registration is verified and documented
  9. Voluntary and involuntary termination of hospital medical staff membership is
     verified and documented
  10. Any evidence of an unusual pattern or an excessive number of professional liability
     actions resulting in a final judgment against the applicant is investigated and
     documented
  11. Documentation that the clinical staff person has received orientation from the
     organization




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      (P) Spencer v. St. Joe

  (P) Spencer v. St. Joe

        B. Anti-Trust, Interoperability, ICD-10, Meaningful Use of Electronic Health
           Records and Revenue Cycle

  •     (P) Confidential v. Confidential in matter before Federal Trade Commission;
        as well as preparation for litigation filings in California, New York, Florida,
        Texas State Attorneys General - Estimates of financial impact on U.S. health
        population under fee for service Medicine and health insurance reimbursement rates
        under both fee for service medicine and risk adjusted value based care, and how rates
        are set based on Computer Assisted Coding and the Affordable Care Act. Litigants
        are two of the largest healthcare firms in America with market capitalizations of over
        $10 billion. Medical coding and economics healthcare expert consultant for landmark
        litigation;; worked directly with former RAND Economists, Jonathan Schiller at
        Boies Schiller and Flexner LLP re provider ICD-9, CPT and ICD-10 medical coding
        and billing as provided for in 45 CFR 162.1002 that adopted the ICD-10-CM and
        ICD-10 PCS code sets as HIPAA standards. Prepared for expert testimony which
        counsel anticipated would go before Commissioner Brill or Ramirez regarding
        functions of encoder software, computer assisted coding, Meaningful Use of
        Electronic Health Records under the ARRA HITECH Act, access to data as precursor
        to computer assisted coding, anti-trust and macroeconomics of care in health plans
        based on data interoperability; consideration of IT switching costs, payor-provider
        contracting practices and economics; preparation for expert report and Daubert
        hearing; case settled and sealed. Development of peer-reviewed expert report,
        facilitating review with MD, PhD in Computer Science, PhD in economics. Due to
        the terms of the settlement agreement, the case is sealed and I am not permitted to
        disclose the names of the litigants.

  •     (P) Northern California Minimally Invasive Cardiovascular Surgery and Dr.



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      Ramzi Deeik MD v. Northbay Healthcare Corporation, Case No. 3:15-cv-06283-
      WHA, United States District Court for the Northern District of California. Provide
      guidance on discovery of cardiology billing data, market definition for anti-trust case
      and retaliatory actions of hospital against a physician.

  •   (P) HITECH Medical Consulting v. NextCare Case No. CV2015-00435D
      Superior Court of the State of Arizona, County of Maricopa. Breach of contract,
      Unjust Enrichment, Contractual Bad Faith involving consulting firm’s
      implementation of Electronic Health Records in an effort to comply with the ARRA
      HITECH Act of 2009, Meaningful Use, and HIPAA Standards. Retained to educate
      attorneys and trier of fact regarding the Electronic Health Records, HITECH, and
      HIPAA, what the implementation and compliance process is, meaningful use core
      measures and menu measures, quality reporting, meaningful use audits, false
      information and risks of false claims act. Explain what patient engagement, smoking
      status, inoculations, clinical decision support patient education materials are and why
      relevant to compliance with Meaningful Use. Discuss certification process for
      Electronic Health Records and billing with respect to medical diagnosis, medical
      procedures and associated medical codes. Discuss role of U.S. HHS Centers for
      Medicare and Medicaid, Office of National Coordinator, Regional Extension Centers
      in achieving Meaningful Use. Discuss attestation attempts, failures, and success rates
      as reported by U.S. HHS / CMS and why this is relevant. Some relevant statutory
      requirements of the case involving my testimony included but were not limited to:

         •   45 CFR §170.314 (subsections); 45 CFR §170.304 electronic health record
             certification criteria (Meaningful Use)
         •   HIPAA Privacy and Security Assessments and HITECH Act to ensure the
             privacy and security and safeguarding of information.
         •   Accuracy of clinical information
         • 31 U.S.C. § 3729. (a) False Claims Act with respect to IT systems, processes
             and people to maintain accurate records.




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  •   (P) Seiler v. Sanford Medical Center Civ. No. 14-3033 Second Judicial Court State
      of South Dakota, Minnehaha County- Retained in a case involving both personal
      injury and complex Third Party Liability rules for insurance claims of auto insurance
      and health insurance payors. Alleged intentional refusal by a hospital to submit
      patient’s charges to health insurance for payment in anticipation of a more favorable
      reimbursement as the result of a tort claim, as tortious interference with client’s
      contract with his health insurance. Opine re role, industry best practices and
      guidelines of Patient financial services, Medical coding, liens, balance billing, usual
      customary and reasonable (UCR) cost of care and documentation.

  •   (D) Paulette Diaz, et al, vs. MDC Restaurants, LLC et al; Case A 701633
      Department XV class action complaint in the Eighth Judicial District Court in and for
      Clark County, State of Nevada. Served as rebuttal expert in a case concerning what
      constitutes “health insurance,” qualified health insurance plans, and those expenses
      covered generally under insurance and specifically under ACA plans, Medicaid and
      Medicaid waivers and under what conditions they would be covered. Apply national
      perspective to health insurance coverage under The Nevada Administrative Code§
      608. and §608.104, Nevada Labor Commissioner's regulations and opinions regarding
      the convolution of the Act, and a review of specific benefits offered by an employer
      of minimum wage workers in comparison to national industry best practices and
      guidelines in respect to the Patient Protection :md Affordable Care Act (''ACA"),
      including Medicaid Expansion in Nevada, Minimum Essential Coverage ("MEC"),
      out-of-pocket limits, and Federal Poverty Level (FPL) guidelines. Areas of testimony
      also included the tenets of cost-sharing subsidies and minimum essential coverage
      (MEC), benchmark plans, , generally, as well as within federal laws such as the
      Health Insurance Portability and Accountability Act of 1996 (HIPAA), Employee
      Retirement Income Security Act of 1974 (ERISA) and related issues, including Taft-
      Hartley trusts and Centers for Medicare and Medicaid (CMS).




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  •   (D) Natalie Torres v Pocatello Children and Adolescent Clinic, et al., Case CV-
      2013-1553. District Court of Sixth Judicial District of the State of Idaho, Bannock
      County. Expert opinion re: future medical expenses and those expenses covered
      generally under insurance and specifically under ACA plans, Medicaid and Medicaid
      waivers and under what conditions they would be covered. Review deposition
      testimony of opposing counsel’s healthcare economist, medical experts and consider
      Affordable Care Act and the policies of insurance available under the ACA through
      the Idaho Exchange, as well as Medicaid under a §1915(c) of the Social Security Act,
      Home and Community-Based Services Waiver Medicare-Medicaid Coordinated Plan
      (MMCP), as described in Idaho Law (IDAPA 16.03.17). Determine applicability of
      Prohibition of Preexisting Condition Exclusions (45 CFR § 147.108), Medicare
      Expansion and Health Insurance Exchanges.

  •   (D) King v. Pediatric Surgical Group, Baptist Hospital of Miami, Baptist
      Children’s Hospital et al, In the Circuit Court of the 11th Judicial District In-and for
      Miami Dade County Florida General Jurisdiction Division State of Florida Case 09-
      47443 CA 11. Expert opinion re: future medical expenses for pain management and
      other treatments under the Affordable Care Act. Opinion regarding those expenses
      covered generally under insurance and specifically under ACA plans, Medicaid and
      Medicaid waivers and under what conditions they would be covered. Review
      deposition testimony of opposing counsel’s healthcare economist, medical experts
      and consider Affordable Care Act and the policies of insurance available under the
      ACA through the Florida Insurance Exchange, Medicaid expansion, Federal Poverty
      Level (FPL) calculations, as well as dual eligible Medicare and Medicaid post age 65,
      Medicaid under a §1915(c) of the Social Security Act, Home and Community-Based
      Services Waiver Medicare-Medicaid Coordinated Plan (MMCP), as described in
      Florida Law. Evaluate metal plan coverage by actuarial value, and cost sharing
      subsidies to estimate maximum out of pocket for lifetime of patient. Determine
      applicability of Prohibition of Preexisting Condition Exclusions (45 CFR § 147.108).




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  •   (D) Bradley Welding v Franscali and Orthopedic Associates of Northern
      Illinois, In the State of Illinois in the Circuit Court of the 17th Judicial Circuit
      Winnebago County, Illinois Case 12 L 323. Expert opinion re: accuracy of data for
      future medical expenses including pain management modalities (Ketamine Infusions,
      Continuous Epidural Spinal Infusion, Continuous Spinal Cord Stimulator, Dorsal
      Root Ganglia Stimulator) and supporting medical durable medical equipment (DME)
      pain management device (s). Review deposition testimony of opposing counsel’s
      healthcare economist, medical experts and consider Affordable Care Act and the
      policies of insurance available under the ACA through the Illinois Exchange,
      Medicaid expansion, Federal Poverty Level (FPL) calculations, as well as dual
      eligible Medicare and Medicaid post age 65, Medicaid under a §1915(c) of the Social
      Security Act, Home and Community-Based Services Waiver Medicare-Medicaid
      Coordinated Plan (MMCP) for disabled insureds as described in Illinois Law.
      Evaluate “metal plan” (bronze, silver, etc.) coverage by actuarial value, and cost
      sharing subsidies to estimate maximum out of pocket for lifetime of patient.
      Condition Exclusions (45 CFR § 147.108).

  •   (D) McDermott v. Children’s Hospital of Philadelphia, In the State of
      Pennsylvania, County of Philadelphia, Case December 2014 term, NO. 003103.
      Opinions regarding alleged $9.8 million in future medical expenses covered generally
      under insurance and specifically under ACA plans, Medicaid and Medicaid waivers
      and under what conditions they would be covered. Review deposition testimony of
      opposing counsel’s healthcare economist, medical experts and consider Affordable
      Care Act and the policies of insurance available under the ACA through the New
      Jersey or Pennsylvania Insurance Exchanges, Medicaid expansion, Federal Poverty
      Level (FPL) calculations, as well as dual eligible Medicare and Medicaid post age 65,
      Medicaid under a §1915(c) of the Social Security Act, Home and Community-Based
      Services Waiver Medicare-Medicaid Coordinated Plan (MMCP), Minimum Essential
      Coverage (MEC) and Essential Health Benefits (EHB), analysis as described in New
      Jersey Law (case venue is Pennsylvania, at the time of this update the court has



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      determined it will be heard under New Jersey Law). Evaluate metal plan coverage by
      actuarial value, and cost sharing subsidies to estimate maximum out of pocket for
      lifetime of patient. Compare Life Care plans and prescribed medical services to those
      covered in State Benchmark Plans. Determine applicability of Prohibition of
      Preexisting Condition Exclusions (45 CFR § 147.108) and disabilities. Discuss
      impact of ACA on companion laws and standards that cover disabled individuals and
      workplace accommodations for essential job functions, such as Rights and
      Responsibilities under Section 504 and the Americans with Disabilities Act (ADA)
      and the Olmstead Plan (including duties of ‘Covered Entities’ aka “HIPAA Covered
      Entities” which means, health care providers, payors and others). Section 1557 of the
      Patient Protection and Affordable Care Act (ACA), punctuates other pre-existing
      regulations regarding people with disabilities. Section 1557 is intended to “…ensure
      that an individual is not excluded from participating in, denied benefits because of, or
      subjected to discrimination as prohibited under Section 504 of the Rehabilitation Act
      of 1973 (disability).

  •   (D) U.S. Attorney General and Carefirst v. Confidential - Prepare and provide
      input for presentation for AUSA re: benefits management systems, policies, industry
      best practices and guidelines and statutes related to an investigation into accuracy of
      data in payor – provider relationships involving alleged fraud; qualified health
      insurance for self-insured employers. Prepare summary of enrollment technology in
      health plans for group insureds by self-insured employers.

  •   (D) California State Compensation Insurance Fund (SCIF) v Drobot, Pacific
      Hospital et al; Case No. 13-00956 AG (CWx) in United States District Court,
      Central District of California. Opinion re: 18 U.S.C. § 1962(c) (CIVIL RICO); 18
      U.S.C. § 1962(d) (CIVIL RICO CONSPIRACY); FRAUD; UNFAIR
      COMPETITION, (Bus. & Prof. Code § 17200) with respect to lack of accurate data
      in fraudulent claims under worker’s compensation; opinion on SIU, Utilization
      Management, Relative Value Units (RVUs) and physician compensation Independent




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      Bill Review, State Rates and duty to ensure accuracy of records, “Experience
      Modification Rate” or XMod

      C. Qui Tam / False Claims Act, Meaningful Use, Medicare Advantage Risk
         Adjustment, Best Practices in Medical Coding and Reimbursement, Duty
         of MAO to Ensure Accuracy of Information, Damages Calculations
  •   (D) U.S. Attorney General v. Confidential Hospital System in Ohio - - Prepare
      and deliver presentation before AUSA, OIG, HHS and FBI re: investigation into
      Meaningful Use of Electronic Health records (ONC certification of software and
      CMS, Medicaid Attestations) to defend client against potential litigation related to
      False Claims Act.

         •   45 CFR §170.314 (subsections); 45 CFR §170.304 electronic health record
             certification criteria (Meaningful Use)
         •   HIPAA Privacy and Security Assessment
         •   31 U.S.C. § 3729. (a) False Claims Act with respect to IT systems, processes
             and people to maintain accurate records.
  •   (‘R) United States of America ex. rel. Olivia Graves v. Plaza Medical Centers,
      Humana et al; 10-23382-CIV-Moreno in United States District Court, Southern
      District of Florida. Opinion re: Duty of Medicare Part C health plan to ensure
      accuracy of patient records including coding, billing and risk adjustment focusing on
      population of diabetics (or alleged diabetics) with comorbid conditions (CCs) and
      major comorbid conditions (MCCs); nephropathy and other complications. Opinion
      re: Duty of Medicare Part C health plan to ensure accuracy of patient records
      including coding, billing and risk adjustment. Patient Protection and Affordable Care
      Act (minimum certification standards and responsibilities of qualified health plan
      (QHP) issuers,) 45 CFR Parts 146, 147, 148, 153, 155, 156, 158; False Claims Act,
      31 USC 3729 false claims act section a1g; §422.118; Confidentiality and accuracy of
      enrollee records; Requirement to submit accurate data to CMS 42 CFR §§ 422.308
      (c) and 422.310; Affordable Care Act 42 USC 1320(a)-7k; Risk adjustment, Risk




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     Corridors, RADV audit methodology - duty to ensure accuracy of clinical
     documentation and coding, HEDIS scores under Medicare Part C. Damages
     calculations using CMS risk adjustment calculations, encounter and claims data,
     ICD-9 diagnoses grouped to HCC risk adjustments.

  Evaluate potential risk adjustment factors and economic reimbursement for the following
  subcategories:
         •    acute urate nephropathy
         •   amyloid nephropathy
         •   analgesic nephropathy
         •   Balkan nephropathy
         •   BK polyomavirus nephropathy
         •   cadmium nephropathy
         •   cast nephropathy
         •   cholemic nephropathy
         •   chronic urate nephropathy
         •   contrast nephropathy
         •   C1q nephropathy
         •   diabetic nephropathy
         •   familial juvenile hyperuricemic nephropathy
         •   gouty nephropathy
         •   heavy metal nephropathy
         •   HIV-associated nephropathy
         •   hypokalemic nephropathy
         •   IgA nephropathy
         •   IgM nephropathy
         •   immunoglobulin A nephropathy
         •   immunoglobulin M nephropathy
         •   ischemic nephropathy




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         •   kaliopenic nephropathy
         •   lead nephropathy
         •   light chain nephropathy
         •   membranous nephropathy
         •   mercury nephropathy
         •   minimal change nephropathy
         •   mycotoxic nephropathy
         •   myeloma cast nephropathy
         •   obstructive nephropathy
         •   polyomavirus type BK nephropathy
         •   potassium-losing nephropathy
         •   radiocontrast nephropathy
         •   reflux nephropathy
         •   salt-losing nephropathy
         •   saturnine nephropathy
         •   sickle cell nephropathy
         •   sodium-losing nephropathy
         •   thin basement membrane nephropathy
         •   toxic nephropathy
         •   urate nephropathy
         •   vasomotor nephropathy


  •   (D) Laurence Peter Reininger v. Cedars Sinai Medical Center and CPLM, a
      Pathology Group Affiliated with Cedars Sinai and Dr. M. Amin – Provide
      expert rebuttal opinion regarding molecular diagnostic pathology laboratory coding
      and billing and best practices in 31 U.S.C. § 3729. (a) False Claims Act; opinions
      based in part on NCCI (National Correct Coding Initiative), and industry best
      practices and guidelines regarding CPT coding for pathology, diagnostics, clinical




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     dosages, and physician supervision and Medicare Part C reimbursement under risk
     adjustment scenarios. Evaluation of use of combination of codes including:

        i.   CPT 87491 infectious agent detection by nucleic acid (DNA or RNA);
             Chlamydia trachomatis, amplified probe technique
       ii.   CPT 87623 Infectious agent detection by nucleic acid (DNA or RNA); Human
             Papillomavirus (HPV), low-risk types (e.g., 6, 11, 42, 43, 44),
      iii.   87624 Infectious agent detection by nucleic acid (DNA or RNA); Human
             Papillomavirus (HPV), high-risk types (e.g., 16, 18, 31, 33, 35, 39, 45, 51, 52,
             56, 58, 59, 68),
      iv.    87625 Infectious agent detection by nucleic acid (DNA or RNA); Human
             Papillomavirus (HPV), types 16 and 18 only, includes type 45, if performed;
      v.     Modifiers including:
      vi.    91 (repeat clinical diagnostic laboratory test is used to report the same lab test
             when performed on the same patient, on the same day, to obtain subsequent
             test results) and
     vii.    59 (when reporting lab procedures, modifier 59 is used when the same lab
             procedure is done, but different specimens are obtained, or the cultures are
             obtained from different sites).


  • (‘R) United States Ex. Rel. Manijeh Nikakhtar MD v. Mission City Community
     Network, Nick Gupta et al – CASE NUMBER CV 12-3692-PSG (SHX) - United
     States District Court, Central District of California. Opinion re: industry best
     practices and guidelines to comply with Section 10501(i)(3)(B) of the Affordable
     Care Act, and whether data reporting under the ACA is also a financial matter of
     reimbursement for both CMS / Medicare and California State Medi-Cal during the
     transition from the All-Inclusive Rate Reimbursement (AIRR) to a new Prospective
     Payment System (PPS) for Federally Qualified Health Centers (FQHC) and any
     differences in reimbursement based on national and regional standards and unit of
     work measures called Relative Value Units (RVUs). Evaluation of Freedom of
     Information Act (FOIA) obtained materials regarding FQHC compliance to U.S. HHS
     / Health Resources and Services (HRSA) standards and Medicare Part C
     reimbursement under risk adjustment scenarios. Evaluation and management (E&M),
     pathology, medication management fees and other coding and billing regulations and
     industry best practices. Patient population includes skilled nursing, behavioral health,



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     ambulatory settings.

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  •   (P) California Kidney Medical Group v Thakkar et al. Case BC587216 Evaluate
      business plan and provide opinion of future revenue streams for nephology and
      pathology business. Review medical documentation, coding and claims
      reimbursement practices re: diagnostic and interventional procedures related to
      patients' dialysis access needs. Opinions based on all-inclusive fees for risk-adjusted
      patients with End Stage Renal Disease ("ESRD") Medicare Part C reimbursement
      under risk adjustment scenarios including “Medicare composite rate,” routine
      pathology tests associated with ESRD patients, non-routine ‘send out’ tests, and
      compliance with 42 CFR Part 422 – Medicare Advantage Program, 42 CFR §422 and
      ESRD Prospective Payment System (ESRD PPS) – Section 153(b) of Pub. L. 110-
      275, the Medicare Improvements for Patients and Providers Act of 2008 (MIPPA)
      amended section 1881(b) of the Social Security Act to require the implementation of
      an ESRD bundled payment system and updates from 2004 as well as updates through
      2015. Evaluate potential issues with double billing / fraud. Tests include these as
      well as ‘esoteric tests’:




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  Section II – Healthcare: Economics related to Medical Coding,
  Clinical Documentation and Value of Health Care Services
  (Usual, Customary and Reasonable Cost of Care (UCR)),
  Payor Determination of Medical Necessity, Economic value of
  healthcare claims, revenue attribution

  Damages Calculations, Usual Customary and Reasonable Cost of Care

  •   (P) Vovea v. Vinh et al Case 115CV280641 Superior Court of California, County of
      Santa Clara. Rebuttal expert regarding whether emergency medical fees including
      Trauma Activation, ambulance transportation (including mileage, supplies, other
      fees) are reasonable customary and necessary according to industry best practices and
      guidelines. Specifically, evaluate the documentation by an emergency response team
      and whether it supports U.S. Centers for Disease Control (CDC) Guidelines for Field
      Triage of Injured Patients: Recommendations of the National Expert Panel on Field
      Triage, 2011; Federal Interagency Committee on Emergency Medical Services
      (FICEMS), established by Public Law 109-59, and section 10202 (18) California
      Health and Safety Code § 1371.4 a provision of the Knox-Keene Act. Provide
      geographic market analysis of usual customary and reasonable (UCR) fees for
      orthopedic, pain management, medical device (s) and supplies, medication,
      behavioral health, rehabilitation medical expenses; ICD-9 diagnosis, CPT outpatient
      procedures, HCPCS medical supplies, ambulance fee medical coding.

  •   (P) Giraldo v. Canta and Groceryworks.com et al Case CGC-15-544893
      Superior Court of California, County of San Francisco. Rebuttal expert regarding
      whether emergency medical fees including Trauma Activation, ambulance
      transportation (including mileage, supplies, other fees) are reasonable customary and
      necessary according to industry best practices and guidelines. Specifically, evaluate
      the documentation by an emergency response team and whether it supports U.S.




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         Centers for Disease Control (CDC) Guidelines for Field Triage of Injured Patients:
         Recommendations of the National Expert Panel on Field Triage, 2011; Federal
         Interagency Committee on Emergency Medical Services (FICEMS), established by
         Public Law 109-59, and section 10202 (18) California Health and Safety Code §
         1371.4 a provision of the Knox-Keene Act. Provide geographic market analysis of
         usual customary and reasonable (UCR) fees for orthopedic, pain management,
         medical device (s) and supplies, medication, behavioral health, rehabilitation medical
         expenses; ICD-9 diagnosis, CPT outpatient procedures, HCPCS medical supplies,
         ambulance fee medical coding.

  •      (P) Seiler v. Sanford Medical Center Civ. No. 14-3033 Second Judicial Court State
         of South Dakota, Minnehaha County- Retained in a case involving both personal
         injury and complex Third Party Liability rules for insurance claims of auto insurance
         and health insurance payors. Alleged intentional refusal by a hospital to submit
         patient’s charges to health insurance for payment in anticipation of a more favorable
         reimbursement as the result of a tort claim, as tortious interference with client’s
         contract with his health insurance. Opine re role, industry best practices and
         guidelines of Patient financial services, Medical coding, liens, balance billing, usual
         customary and reasonable (UCR) cost of care and documentation of necessity for
         ambulance transportation, orthopedic, medical device (s), pain management,
         neurological inpatient (ICD-9 and Diagnosis Related Groupings or DRGs) trauma
         activation fees, surgical procedure and outpatient CPT codes. Applicable Statutes
         include: Federal statutes and best practices: Fair and Accurate Credit Transactions
         Act (“FACTA”) Fair Credit Reporting Act (FCRA). FACTA §312(a),
         (FACTA§312(c), FCRA §623(e)(1)), FCRA §623(a)(8)); Ability of patients as
         consumers to dispute information with companies that report to credit bureaus;
         Affordable Care Act ( not for profit hospitals required to offer community benefit in
         exchange for its tax-exempt status1 (see Rev. Rul. 69-545, 1969-2 C.B. 117.)),


  1
      “Examples illustrate whether a nonprofit hospital claiming exemption under section 501(c)(3) of



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      Common Law - duty to mitigate damages by health center. Prepare for trial – provide
      overview of how health care claims process and third party liability works to educate
      trier of fact.

  •   (D) Minton v City of Thousand Oaks, Time Warner Cable - Usual customary and
      reasonable fees, coding and billing and resulting charges including CPT, MRI, CPT,
      ED, ambulance, orthopedic surgical, chiropractic, pharmacy (NDC codes for
      medication) physical therapy, and other procedures; duty to mitigate costs, ambulance
      and non-emergency transportation costs, three-day payment rule 42 CFR 412.2(c)(5);
      medical device (s), supplies, evaluate potential merits for U.S.C. § 3729. ICD-9, CPT,
      DRG, HCPCS and hospital revenue coding, duty to mitigate damages under
      California statutes, Section 1886(d) of the Social Security Act and Title 42: Public
      Health Part 412—Prospective Payment Systems for Inpatient Hospital Services.

  •   (P) UCLA Medical Center v. Blue Cross Blue Shield – Binding arbitration with
      AAA case no. 722013001112. Pre-arbitration expert consultant for mediation with
      JAMS reference number 1200051271. Provide expert opinion on role of Medicare
      Administrative Contractors (MACs) in providing reimbursement rates and the
      historical pricing guidance and usage of nuclear medicine codes. Provide expert
      opinion on reimbursement for Technical Component (TC) and Professional
      Component (PC) as well as Relative Value Units (RVUs) of diagnostic imaging
      services primarily used for Oncology (Nuclear Medicine, PET-Scan) based on
      specific services by CPT code.

  •   (P) Allstate v Confidential Defendants – Michigan retained as expert advisor to
      evaluate nationwide diagnostic imaging reimbursement for professional component
      (PC) and technical component (TC) as well as RVUs focusing on Magnetic


  the Code is operated to serve a public rather than a private interest; Revenue Ruling 56-185
  modified.” – IRS.gov/pub/irs-tege/rr69-545.pdf (see Rev. Rul. 69-545, 1969-2 C.B. 117.)1




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         Resonance Imaging (MRI) Usual, Customary and Reasonable pricing, CPT coding
         and billing and resulting charges, and supporting clinical data - Criteria for
         determining reasonable charges 45 CFR §405.502; Michigan State automobile
         insurance (no-fault).

  •      (P) Rhodes v Renown – CV14-02054 in the Second Judicial District Court of the
         State of Nevada in and for the County of Washoe. Patient financial services, Medical
         coding, usual customary and reasonable (UCR) cost of care and documentation of
         necessity for outpatient obstetrics surgical procedure and CPT codes, medical device
         (s) and supplies. Applicable State Statutes include: Uninsured patient discount (NRS
         439B.260); Federal statutes and best practices: Fair and Accurate Credit Transactions
         Act (“FACTA”) Fair Credit Reporting Act (FCRA). FACTA §312(a),
         (FACTA§312(c), FCRA §623(e)(1)), FCRA §623(a)(8)); Ability of patients as
         consumers to dispute information with companies that report to credit bureaus;
         Affordable Care Act ( not for profit hospitals required to offer community benefit in
         exchange for its tax-exempt status2 (see Rev. Rul. 69-545, 1969-2 C.B. 117.))

  •      (P) John D. Thomson v. HMC Group, Torrance Medical Center Et al. CV13 -
         03273 D M G United States District Court, Central District of California Expert
         opinion regarding hospital facility revenues for use in damages calculations for
         surgical suites based on industry best practices and statutes associated with damages
         related to intellectual property rights litigation. Evaluation of revenues attributable to
         surgical suites based on Inpatient Prospective Payment System (IPPS) and Outpatient
         Prospective Payment System (OPPS) using defendant provided materials as well as
         government sources from HHS / CMS. Demonstrated expertise in statutory mandates
         such as Diagnosis Related Groupings (DRGs), ICD-9, ICD-10 and CPT codes.

  2
      “Examples illustrate whether a nonprofit hospital claiming exemption under section 501(c)(3) of
  the Code is operated to serve a public rather than a private interest; Revenue Ruling 56-185
  modified.” – IRS.gov/pub/irs-tege/rr69-545.pdf (see Rev. Rul. 69-545, 1969-2 C.B. 117.)2




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      Applicable statutes include: Section 1886(d) of the Social Security Act and Title Tax
      Equity and Fiscal Responsibility Act of 1982 (TEFRA) P.L. 98–21, Approved April
      20, 1983, 42: Public Health Part 412, Criteria for determining reasonable charges 45
      CFR §405.502, 42 CFR 412.2(c)(5) ). § 412.2 “Basis of payment” and 42 CFR
      412.60 - DRG classification and weighting factors provides the method to calculate
      DRGs.

  •   (D) Joann Hilton v. USA Logistics Carriers, LLC and Jose Juan Soto-Estrada,
      Case No. C879214-J, in the 430th District Court of Hidalgo County, Texas. Usual
      customary and reasonable fees, coding and billing and resulting charges including
      CPT, MRI, CPT, ED, ambulance, emergency room (including explanation to court of
      of Level 1, Level 2, Level 3, Level 4, Level 5 ED visits), trauma activation fees, cost
      of ER and OR per minute, spinal fusion procedure (orthopedic surgical), medical
      device (s) including surgical screws, surgical screws, supplies, chiropractic, pharmacy
      (NDC codes for medication), pain management, physical therapy, and other
      procedures; duty to mitigate costs, ambulance and non-emergency transportation
      costs, three-day payment rule 42 CFR 412.2(c)(5); evaluate potential merits for
      U.S.C. § 3729. ICD-9, CPT, DRG, HCPCS and hospital revenue coding, duty to
      mitigate damages under Texas statutes, Section 1886(d) of the Social Security Act
      and Title 42: Public Health Part 412—Prospective Payment Systems for Inpatient
      Hospital Services.

  •   (D) Jorge Uribe v. City of Maywood and Andrew Serrata J.S.I.D. File 10-0416
      L.A.S.D. URN 010-00058?3199-055 Los Angeles County District Office Bureau of
      Fraud and Corruption Prosecutions Justice System Integrity Division. Determination
      of Usual Customary and Reasonable (UCR) cost of care for approximately $500,000
      in medical bills including surgery for internal injuries caused by gunshot wounds –
      trauma activation fees, ambulance transportation, cardiology, orthopedics, pathology /
      lab tests and interpretations, and diagnostic imaging medical specialties including CT
      and MRI, room charges, operating room minutes, medications, anesthesia, evaluation
      and management (E&M). Evaluate codes and episodic groupings (DRGs) for



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      inpatient days, ambulatory procedures, rehabilitation, surgical procedures, supplies
      and device costs, duty to mitigate damages. Relevant statutes, industry standards and
      best practice: Section 1886(d) of the Social Security Act and Title 42: Public Health
      Part 412—Inpatient Prospective Payment System (IPPS) for Hospital Services and
      customary rehabilitation charges and reimbursement.

  •   (P) Jim Casciani v. Gerald Anger, Jr., et al; SCV-255002 Santa Rosa CA Sonoma
      County Superior Court. Expert report - usual, reasonable and customary (UCR) for
      medical imaging coding and billing and resulting charges – trauma activation fees,
      MRI, ER, orthopedic, dental, pathology, and other procedures, inpatient DRG, ICD-9
      and ambulatory CPT coding as it pertains to cost of care.

  •   (D)Raul Martinez v. Lee Ill Young, – BC489656, Superior Court of the State of
      California for the County of Los Angeles, Central District Determination of Usual
      Customary and Reasonable (UCR) cost of care medical bills including spinal fusion
      surgery for orthopedics, and diagnostic imaging medical specialties. Evaluate codes
      and episodic groupings (DRGs), ICD-9, CPT for inpatient days, ambulatory
      procedures, rehabilitation, surgical procedures, supplies and device costs, Section
      1886(d) of the Social Security Act and Title 42: Public Health Part 412—Prospective
      Payment Systems for Inpatient Hospital Services. Patient’s duty to mitigate medical
      costs.

  •   (P) Smith vs. Musinski MD et al – 37-2014-000-5897-CU-PL-NC in San Diego
      Superior court; Provide opinion regarding Usual, Customary and Reasonable charges
      for evaluation and management (E&M) encounters and coding, supporting clinical
      documentation as well as inpatient and ambulatory surgery center procedures for
      Obstetrics and gynecology. Provide opinion regarding potential fraudulent
      documentation and coding by physician.

  •   (P) California Accounts Service v. William Henry Tarkington - Determination of
      Usual Customary and Reasonable (UCR) cost of care medical bills including surgery.
      – Superior Court of California, County of San Diego, Central Division. Usual




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      customary and reasonable fees, coding and billing and resulting charges including
      CPT, MRI, CPT, ED, ambulance, orthopedic surgical, chiropractic, physical therapy,
      and other procedures; duty to mitigate costs, three-day payment rule 42 CFR
      412.2(c)(5); evaluate potential merits for U.S.C. § 3729. (a) False Claims Act; - ICD-
      9, CPT, DRG, HCPCS and hospital revenue coding.

  •   (D) Billrite billing solutions, Inc. v Vinay M. Reddy, MD, individually and
      doing business as Spine and & Nerve Diagnostic Center. 34-2014-00166608
      SUPERIOR COURT OF THE STATE OF CALIFORNIA COUNTY OF SACRAMENTO-
      provide opinion regarding industry best practices and guidelines for outsourced
      medical billing for pain management, electromyogram (“EMG”) which are used for
      among other medical applications, advanced pain management, diagnostics such as
      Nerve Conduction Studies (NCS), Epidural Steroid Injection (ESI) and Urine
      Toxicology Studies for a health care provider and whether medical coding and billing
      was being performed in compliance with industry best practices and guidelines.
      Evaluate whether proper coding in compliance with California Workers’
      Compensation Reform Senate Bill 863 (SB 863) and the National Correct Coding
      Initiative (NCCI) which provides for guidelines on proper bundling of services (and,
      flags incorrectly unbundled services which may be due to fraud or up coding).
      Evaluate claims under California Workers’ Compensation and California SB 863
      which standardized Workers’ Compensation based on Medicare billing rules; Medical
      Treatment Utilization Schedule (MTUS) which focus on reducing costs and
      utilization for procedures including chronic pain treatment, neck / upper back
      procedures, elbow disorders, forearm, wrist, hand, low back, knee procedures, cost of
      surgical screws and medical device (s).

  •   (D) Rose v. Herfy's and Lee NO. 15-2-14145-7 SEA SUPERIOR COURT OF THE
      STATE OF WASHINGTON FOR KING COUNTY. Evaluate over $1.5 million in
      medical bills including orthopedic procedures, medical device (s) and supplies
      rehabilitation and skilled nursing billings. Perform regional analysis for Seattle
      metropolitan area on usual customary and reasonable charges from other providers;



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      prepare declaration and expert report, pending trial appearance.



  Section III – Healthcare: Expert Advisor / Consultant

  Medicare Advantage, Risk Adjustment, Utilization Management, CMS
  Regulations


  •   (D) Preferred Care Medicare Part C – Florida - Medicare Advantage HEDIS 5-
      Star Ratings, provider network clinical data, Utilization Management, Coordination
      of Benefits, Case Management and claims processing, chart review quality audits and
      analytics, risk adjustment using HCC and ICD-9 coding, RADV audit methods,
      RAPS file analytics.


  •   (D) Cullman Regional Medical Center, Alabama – staff productivity on claims
      processing, liens, balance billing statutes, subrogation claims. Industry best
      practices and guidelines for usual, customary and reasonable cost of care.


  •   (D) United Healthcare, Florida - Medicare Advantage HEDIS 5-Star Ratings,
      provider network clinical data, Utilization Management, Coordination of Benefits,
      Case Management and claims processing using HCC and ICD-9 coding, RADV audit
      methods, RAPS file analytics.


  •   (P) Optum, Minneapolis – Expert consultant, Revenue Cycle Management,
      Healthcare Economics, coding, encoders that support diagnosis and procedure coding
      using ICD-9 and ICD-10, risk adjustment methods. Advise litigation team at one of
      the largest law firms in the U.S. on macroeconomic economic issues regarding coding
      and reimbursement, computer assisted coding, electronic health records; based on
      prior research in ICD-10 reimbursement risks.




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  •   (P) Boies Schiller & Flexner, LLP - Expert advisor and consultant, Revenue Cycle
      Management, Healthcare Economics, coding, encoders that support diagnosis and
      procedure coding using ICD-9 and ICD-10, risk adjustment methods. Advise
      litigation team at one of the largest law firms in the U.S. on economic issues
      regarding coding and reimbursement.


  HIPAA Transaction Standards, Medical Coding Standards, Applicability of HIPAA
  Privacy and Security Rules


  •   (D) Regence BlueCross BlueShield, Seattle, Salt Lake, Portland – Medicare
      Part C, Medicare Part D, Commercial Lines - HITECH Act, HIPAA 5010, ICD-
      10 processes, HIPAA Privacy and Security, DRGs, Ambulatory claims, Inpatient
      Claims, Ancillary Services, and IT architecture to enable these capabilities, chart
      review quality audits and analytics, risk adjustment using HCC and ICD-9 coding,
      RADV audit methods, RAPS file analytics.


  •   (D) Public Employees Health Plan of Utah (PEHP) - HIPAA 5010, ICD-10
      processes, HIPAA Privacy and Security, DRGs, Ambulatory claims, Inpatient Claims,
      and IT architecture to enable these capabilities.

  •   (D) Conemaugh Health System (owned by Duke Lifepoint Health System) -
      Expert report on ICD-10, clinical documentation and meaningful use of electronic
      health records including HIPAA Privacy and Security and revenue cycle /
      reimbursement. Applicable regulations included Department of HHS final regulation
      (45 CFR §162.1002), 45 CFR §164.308 (subsections), 45 CFR §164.410
      (subsections), 45 CFR §164.502 (subsections), 45 CFR §170.314 (subsections); re
      §31 U.S.C. § 3729 (a) False Claims Act; Usual, Customary and Reasonable medical
      and prescription charges under ICD-10, Section 1886(d) of the Social Security Act




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     and (42 CFR §412, Prospective Payment Systems for Inpatient Hospital Services.
     Analyzed over 1 million billing and medical records with respect to revenue cycle
     management reimbursement risk with leading payers including Medicare, Medicaid,
     Blue Shield, Cigna, and Aetna; prompt pay act in Texas (Sec 28.002); Evaluate over
     $1 billion in health care claims for risk adjustment, audit quality using RADV
     methods, clinical documentation coding quality.




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  Medicaid and CHIP Eligibility

  •   (D) TennCare II – Tennessee State Medicaid and TN Insurance Exchange
      eligibility - Expert advisor and consultant regarding TennCare application and
      eligibility determination process and the implementation of the Affordable Care Act
      and Medicaid expansion and resulting mandated changes to eligibility. TennCare II
      is a continuation of the state’s demonstration, funded through titles XIX and XXI of
      the Social Security Act. Focus: state exchange including income and federal poverty
      level (“FPL”) percentage cancelations, behavioral health components, Federal
      (HHS) Exchanges “Federally-Facilitated Marketplace (FFM),” and State Based
      Exchange (“SBEs”), State MMIS – Medicaid Management Information Systems,
      which provide some of the eligibility technology platform for the Exchanges. Focus
      components include: Behavioral health, Assisted Care Living Facilities (ACLF), prior
      authorizations for medications via Magellan partnership.

  •   (D) Wal-Mart – Expert advisor to largest self-insured employer globally re:
      CORE Operating Rules, Medicare Part C, Patient Protection and value of care
      under the Affordable Care Act, ICD-10 medical coding; HIPAA 5010 EDI (45
      CFR §162) Administrative Requirements for healthcare claims processing, employer
      costs; evaluation of Third Party Administration provided by Blue Cross Blue Shield;
      (45 CFR § 162.1002) and Usual, Customary and Reasonable medical and
      prescription charges under ICD-10third party liability claims and worker’s
      compensation insurance. On site advisory at global headquarters with health &
      wellness leadership chart review quality audits and analytics, risk adjustment using
      HCC and ICD-9 coding, RADV audit methods, RAPS file analytics of underlying
      Arkansas Blue Plan.




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  Value Based Care, Accountable Care Organizations, Medicare Part C and
  Medicare Part D Under Affordable Care Act
  •   Essence Health Plan, Medicare Advantage / Part C, Medicare Part D – on
      behalf of Kleiner Perkins Caufield & Byers, St. Louis MO. compliance risk in
      coding, clinical documentation, for compliance with the Affordable Care Act,
      HITECH Act, ICD-10, Medicare Part A, Medicare Part B, Medicare Part C
      (Medicare Advantage), Medicare Part D. Accountable Care (Medicare Shared
      Savings Plan ‘MSSP’), Economic value, IT and processes for patient and provider
      referrals and network management in value based care. Evaluate risk of coding and
      clinical documentation using RADV audits, analytics, §31 U.S.C. § 3729 (a) False
      Claims Act; Usual, Customary and Reasonable medical and prescription charges
      under ICD-10, Section 1886(d) of the Social Security Act and (42 CFR §412,
      Prospective Payment Systems for Inpatient Hospital Services

  •   Citra Health Solutions, Jacksonville FL – Advisor to CEO. Advise leadership
      regarding value based care, HIPAA privacy and security, meaningful use, strategic
      partnerships and acquisitions for Medicare Advantage and Accountable Care market
      and EZ Cap claims system. Focus on Value Based Pricing, Medicare Advantage Risk
      Adjustment using HCCs; population health, patient and physician engagement and
      quality reporting.

  •   Advisor: E.H.R., Accountable Care Organizations, practice management IT
      companies - manage a team that has advised over 100 companies on Meaningful
      Use, Medicare Advantage, ACA, ICD-10 regulations. Ambulatory, acute care – MU1,
      MU2, DSM-5, CPT, ICD-9, ICD-10, clinical documentation, HIPAA, Clinical Quality
      Measures, CA Civil Code §56;




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  •   Medicare Advantage / Part C Risk Adjustment Methods Under ICD-10
      including Risk adjustment, Risk Corridors, RADV audit methodology - duty to ensure
      accuracy of clinical documentation and coding, HEDIS scores, physician financial
      incentives / gain share for Medicare Part C.
                                                                    CMS Region                           Number of H
        Legal Entity Name            Parent Organization            Responsible             Enrollment   Plan Nos.
        BCBS OF MICHIGAN
        MUTUAL INSURANCE
                                     Blue Cross Blue Shield of
        COMPANY                      Michigan                       Chicago          IL     336,511          34
        UPMC HEALTH PLAN,
        INC.                         UPMC Health System             Philadelphia     PA     121,665          12
        TRIPLE S ADVANTAGE,          Triple-S Management
        INC.                         Corporation                    New York         NY     108,734          10
        BLUE CARE NETWORK            Blue Cross Blue Shield of
        OF MICHIGAN                  Michigan                       Chicago          IL     74,639            7
        EXCELLUS HEALTH
        PLAN, INC.                   Lifetime Healthcare, Inc.      New York         NY     69,430            7
        CARE1ST HEALTH               California Physicians'
        PLAN                         Service                        San Francisco    CA     62,190            6
        REGENCE BLUECROSS
        BLUESHIELD OF                Cambia Health Solutions,
        OREGON                       Inc.                           Seattle          WA     55,545            5
        PROVIDENCE HEALTH            Providence Health &
        PLAN                         Services                       Seattle          WA     49,015            5
        BLUE CROSS AND
        BLUE SHIELD OF               Guidewell Mutual Holding
        FLORIDA, INC.                Corporation                    Atlanta          GA     47,172            4
        EXCELLUS HEALTH
        PLAN, INC.                   Lifetime Healthcare, Inc.      New York         NY     45,932            4
        HEALTH CARE SERVICE          Health Care Service
        CORPORATION                  Corporation                    Dallas           TX     27,140            3
                                     Intermountain Health Care,
        SELECTHEALTH, INC.           Inc.                           Denver           CO     35,575            3
        BLUE CROSS OF
        IDAHO CARE PLUS,             Blue Cross of Idaho Health
        INC.                         Services, Inc.                 Seattle          WA     19,982            2
                                     Cambia Health Solutions,
        REGENCE BLUESHIELD           Inc.                           Seattle          WA     22,498            2
        HORIZON INSURANCE            Horizon Healthcare
        COMPANY                      Services, Inc.                 New York         NY     24,048            2
                                     Horizon Healthcare
        PREFERRED CARE               Services, Inc.                 Miami            FL     n/a               1




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  FDA Compliance and Medical Devices
  Advanced Medical Optics (Now Abbott Medical Optics) v. Confidential
  Development of AMO’s global complaint handling system for Adverse Event reporting
  mandated by the U.S. Food and Drug Administration. Roll out solution in U.S., Europe,
  and Asia for company’s medical device and pharmaceutical products. Lead team to
  develop all documentation of policies and procedures, integration with SAP Customer
  Relationship Management System (CRM) and development of systems and reports for
  compliance. Serve as expert consultant re: investigation into compliance by Regulatory
  Affairs. Second project: Lead development of embedded systems for medical
  instruments and ensure FDA compliance to standards.




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  Percutaneous Testing for Allergens

  •   (‘R) United States of America ex. rel. (Confidential) vs. Confidential
      defendants – advise during sealed case investigation. Review of coding, billing,
      and applicable industry best practices and statutes regarding percutaneous tests
      (scratch, puncture, prick) with allergenic extracts, including test interpretation and
      report, number(s) of tests, and professional services for the supervision of preparation
      and provision of antigens for allergen immunotherapy; single or multiple antigens.
      Provide opinion on appropriate billable dosages and whether they vary from
      physician prescribed clinical dosages and appropriate medical documentation and
      coding.

  Pharmaceutical Claims and Pharmacy Benefits Management Pricing

  •   (P) Pharmacy Benefit Management (PBM) analytics to review industry best
      practices on pricing. Use of analytics to assess Average Wholesale Price (AWP)
      using First Data Bank and MediSpan and forensic audits to find price manipulation
      and irregularities in pricing to detect the following tactics:

      •   Re-Defining AWP                                       •    Clinical Rules & Protocols
      •   % Factor                                              •    Mail-Order Schemes
      •   NDC price reporting                                   •    Leveraging Captive Facility
      •   Mark-Ups & Price Spreads                              •    Multiple MAC Lists
      •   Backroom Processor Schemes                            •    Drug Switching
      •   Rebate Schemes                                        •    Drug Repackaging
      •   Flat, Access, Market Share                            •    Fraudulent Plan Design
      •   Rebate Disguising                                     •    Zero Cost Scripts
      •   Rebate Pumping                                        •    Higher Than Logic
      •   Re-Defining “Brand” and                               •    Pocketing Refunds, Reversals and
          “Generic”                                                  Returns
      •   Formulary Steering                                    •    Payor Account Crediting Tricks
      •   Pre-Authorization Schemes                             •    Specialty Drug Issue




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  Medicare Administrative Contractors, Claims, HIPAA Transactions

  •   Ability Networks and Medicare Administrative Contractors (MACs) for
      Confidential Private Equity Firm – Expert advisor re: diligence in pending $500
      million acquisition of the largest network provider of data services and connectivity
      to all Medicare Administrative Contractors (MACs) in the United States; role of
      MACs, determination of pricing and eligibility, access to data, anti-trust, HIPAA
      Privacy and Security, evaluation and opinion regarding future of Medicare MACs in
      the industry.




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  Section IV - Financial Services Regulations
  •   (D) First American Financial Corporation (FAF) – Sarbanes Oxley - Served as
      Expert leading largest and most complex Sarbanes Oxley Financial IT audit in the
      U.S. (according to accounts by PwC) for a Fortune 100. Report to Audit Committee,
      outside legal counsel and outside financial audit firm re: SOX Application Controls
      and General Controls using Control OBjectives for Information and related
      Technology (COBIT) published by the Information Systems Audit and Control
      Foundation (ISACF) derived from COSO (Committee of Sponsoring Organizations of
      the Treadway Commission) which is approved by SEC using 34 IT Governance
      Processes & 318 Financial and Operational Control Objectives; audit oversight of
      electronic data resource utilization and security similar in intent to HIPAA privacy
      and security rules and California Confidentiality of Medical Information Act.
      Applicable statutes include 17 CFR PARTS 210, 228, 229, 240, 249, 270 and 274;
      Management's Report on Internal Control Over Financial Reporting and
      Certification of Disclosure in Exchange Act Periodic Reports, especially Section
      404 — Management Assessment of Internal Controls, 29 CFR Part 1980 –
      Procedures for handling retaliation complaints under § 806 of the Sarbanes-Oxley
      Act of 2002, as amended; § 31 U.S.C. § 3729 (a) False Claims Act; 17 CFR Part 210,
      Retention of records for audits and reviews.

  •   First American - (“FACTA”) Fair Credit Reporting Act (FCRA). FACTA
      §312(a), (FACTA§312(c), FCRA §623(e)(1)), FCRA §623(a)(8)) – Lead
      executive on CredCo process and systems teams to ensure compliance with FCRA
      and FACTA with respect to loan origination and refinancing

  •   First American - 15 U.S. Code § 1639e - Appraisal independence requirements
      Office of the Comptroller of the Currency (OCC) standards for real estate
      lending by national banks in Real Estate Lending Appraisals 12 CFR 23; interagency
      Appraisal and Evaluation Guidelines OCC 2010-42 (December 10, 2010)




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                                         Michael F. Arrigo
                                         marrigo@noworldborders.com
Offices in Boston, Pittsburgh, New York, Washington DC, Nashville, Raleigh, Atlanta, Jacksonville
                 Seattle, Salt Lake City, Denver, Chicago, Dallas, San Francisco,
                          Palo Alto, Orange County, San Diego, Honolulu

  Education
  •   Stanford Medical School, Palo Alto CA - Studies in
      Biomedical Informatics (see end note i) studies in Bio Ethics
      at Harvard Medical School.

  •   University of Southern California, Marshall School of
      Business, Los Angeles – Bachelor of Science, Business
      Administration, 1981; studied in Entrepreneur Program which
      focuses on the management, marketing and finance of
      startups, first of its kind U.S.

  •   Clinical documentation, medical coding, billing
      reimbursement, HIPAA transactions, value based care, risk
      adjustment matters (see CV Attachment 11 in this CV).

  Professional Affiliations

  •   Medical Group Management                             Control Association (ISACA)
      Association (MGMA)                               •   Volunteer, Children’s Hospital of OC,
  •   Health Information Management                        Medical Intelligence innovation
  •   American Academy of Professional                     committee
      Coders (AAPC)                                    •   Guest lecturer, writer (see details
  •   American Health Information                          herein) Contributor, Strategic
      Management Association (AHIMA)                       Financial Management Newsletter,
  •   Systems Society (HIMSS)                              Healthcare Financial Management

  •   American Academy of Pain Medicine                    Association; prior contributor,

      (AAPM)                                               Healthcare IT News, GovHealth IT,

  •   Workgroup for Electronic Data                        Mobile Health News, Financial Health

      Interchange (WEDI)                                   News

  •   Information Systems Audit and


  Additional Coursework and Training

  •   Villanova University – Lean Six Sigma and Process improvement 2007
  •   Wharton School, University of Pennsylvania – Leadership Strategies - 1982
  •   University of Calif., Irvine – Computer Science, Statistics, Economics ‘76 – ‘78


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Legal Experience (See Separate Document for List of Cases & Opinions)

1. Retained by U.S. DOJ re: Federal investigation into medical
   data, Health IT / E.H.R. stimulus funds and False Claims Act
2. Retained by former RAND Economists and Health IT firm for
   testimony before Federal Trade Commission involving anti-
   trust and access to clinical data impacting billing and revenue
   cycle.
3. Federal, State, written testimony in expert reports,
   depositions, and court appearances re: ACA, HIPAA, medical
   coding and billing, usual customary and reasonable cost of
   care, Medicaid Expansion, Medicaid waivers for disabled insureds, and ACA Qualified
   Health Plans, subsidies, rates and actuarial value.
4. Engaged by plaintiffs, class action attorneys, relators, defendants with experience
   across payors (including Medicare, Medicaid, social security, workers’ compensation,
   private insurance / health plans), hospital systems and physician groups, patients,
   healthcare IT, (see Attachment 11 for experience in various medical specialties).
   User of eDiscovery tools such as Relativity for document discovery work.


Publications & Lectures
Arrigo, M. F. (2016) Strategic Financial Management for Healthcare Providers: Clinical
Documentation Improvement and Accuracy as a Foundation for Risk Adjustment and
Value Based Care. Peer reviewed by editors, compliance staff, clinical and business
executives at one of the largest academic medical centers in the U.S. Healthcare Financial
Management (HFMA). Published August 17, 2016 https://www.hfma.org/sfp/


Arrigo, M. F. (2015) Mobile Health, HIPAA Privacy and Security
Blackberry Sharpens Security with Good Technology Acquisition. Gov. Health IT
http://www.govhealthit.com/blog/commentaryblackberry-sharpens-security-good-
technology-acquisition


Arrigo, M. F. (2015) Five Interest-Piquing Trends at HIMSS15. Gov. Health IT
http://www.govhealthit.com/news/5-interest-piquing-trends-himss15



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Arrigo, M. F. (2014) Cloud and Mobile Convergence: The Regulatory View. Gov. Health IT
http://www.govhealthit.com/blog/cloud-and-mobile-convergence-regulatory-view


Arrigo, M.F. (2014) HIPAA Plain and Simple / HIPAA for Behavioral Health – Credible
Behavioral Health E.H.R. Software Users Conference, Baltimore Maryland (18 March
2014)


Arrigo, M.F. (2014) DSM 5 and ICD-10 – Credible Behavioral Health E.H.R. Software
Users Conference, Baltimore Maryland (18 March 2014)


Arrigo, M.F. (2014) Managed Care and Accountable Care for Behavioral Health – Credible
Behavioral Health E.H.R. Software Users Conference, Baltimore Maryland (18 March
2014)


Arrigo, M. F. (2011) ICD-10 financial impact vs. mortgage crisis? Gov. Health IT
http://www.govhealthit.com/news/could-icd-10-have-big-financial-impact-mortgage-crisis



Arrigo, M. F. (2012) How a Flaw in the ACO Model Leaves Patients Out. Gov. Health IT
http://www.govhealthit.com/news/how-flaw-aco-model-leaves-patients-out


Arrigo, M. F. (2012) 10 ICD-10 Regulation Myths Demystified. Gov. Health IT
http://www.govhealthit.com/news/10-icd-10-regulations-demystified



Arrigo, M. F. (2012) Real-time location, mobile health gain traction. Gov. Health IT
http://www.govhealthit.com/news/real-time-location-and-mobile-health-solutions-gain-traction-show-roi



Arrigo, M. F. (2013) 3 Top Priorities for CommonWell. Gov. Health IT
http://www.govhealthit.com/news/3-top-priorities-commonwell



Arrigo, M. F. (2013) Commentary: ICD-10 Arrives Early, New Claims Form. Gov. Health IT
http://www.govhealthit.com/news/commentary-icd-10-arrives-early-claims-CMS-coding-HIPAA-icd-9



Arrigo, M. F. (2014) Increased Spending - Big Data, Cloud, mHealth Social. Gov. Health IT
http://www.govhealthit.com/blog/increased-spending-and-savings-tap-big-data-cloud-mhealth-and-social



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    Arrigo, M. F. (2014) Ebola: How cloud, mHealth, and ICD-10 could help. mHealth News
    http://www.mhealthnews.com/blog/ebola-how-cloud-mhealth-and-icd-10-could-help


Arrigo, M. F. (2014) How Cloud and mHealth Ease Claims Processing (also coverage of Prior
Authorization / eligibility HIPAA EDI 270/271, referral EDI 278 transaction. Gov. Health IT
http://www.govhealthit.com/news/how-cloud-and-mhealth-promise-ease-claims-processing



Arrigo, M. F. (2014) How to Get Behavioral Health Codes Right. Gov. Health IT
http://www.govhealthit.com/blog/how-get-your-behavioral-health-codes-right



Lectures, Adjunct Faculty, Conference Speaking Engagements


•   Arrigo, M. (Speaker) (2015, November 2015) Medical Device Reimbursement, FDA,
    FCC and CMS regulatory disruption and opportunities under the Affordable Care
    Act, ICD-10 and HITECH Act. BioMed Device and Wireless Device Conference, San
    Jose California


•   Arrigo, M. (Speaker) (2015, September 2015). Meaningful Use of Electronic Health
    Records, HIPAA Privacy and Security and potential damages for breaches under the
    HITECH Act as a foundation for the International Classification of Diseases from the
    World Health Organization (ICD-10) – Discussion of risks and opportunities in these two
    regulations; discrete data, quality measures, medical codes: clinical Documentation,
    clinical decision support, physician and patient engagement, HIPAA Privacy and Security
    and revenue cycle. Wolters Kluwer Corporate event presented to audience of over 1,800
    participants.


•   Arrigo, M. and Nichols J. MD - (Speakers) (2013, November). Claims Data, Clinical Data –
    Working together to Improve Clinical Documentation for International Classification of
    Diseases from the World Health Organization (ICD-10). Workgroup for Electronic
    Data Interchange (WEDI) National Conference.


•   Arrigo, M. (Speaker) (2012, April 14). The Perfect Storm in Healthcare - How Disruptive
    Regulations and Technologies Create Risks and Opportunities for Medical Coding
    and Revenue Cycle Management. Affordable Care Act, ICD-10, CORE Operating Rules,
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     and HITECH Act. American Academy of Professional Coders (AAPC) National
     Conference. Lecture conducted from Las Vegas, NV. http://news.aapc.com/icd-10-monitor-
     wish-i-were-in-las-vegas/


•    Arrigo, M. (Speaker) (2012, June 14). ICD-10: Impact on Payment Reform. Wisconsin
     Medical Society. Lecture conducted from Madison, Wisconsin. http://bit.ly/16acIDy

•    Arrigo, M. (Speaker) (2013, April 23). The Perfect Storm in Healthcare - How Disruptive
     Regulations and Technologies Create Risks and Opportunities for Medical Coding and
     Revenue Cycle Management. Affordable Care Act, ICD-10, CORE Operating Rules, and
     HITECH Act. Scripps Healthcare Summit 2013. Lecture conducted from La Jolla,
     San Diego California.

•    Arrigo, M. (Speaker) (2012, May). How ICD-10 and Payment Reform Will Change the
     Radiology Revenue Cycle. Radiology Business Management Association (RBMA),
     Orlando Florida.

•    Arrigo, M. (Speaker) (1994 - 1995). Impact of the Internet on medical and financial
     businesses, Loyola University, Los Angeles CA

•    Arrigo, M. (Speaker) (1994 - 1995). Impact of the Internet on medical and financial
     businesses, University of California, Irvine CA

2010 to present Instructor, HIPAA Privacy and Security, HITECH Act Electronic Health
Records, value based care, medical coding and billing audits, Affordable Care Act,
Best practices in HIPAA and HITECH Act Information Privacy and Security1 and Meaningful
Use, Best practices Health IT, process improvement, eligibility and coverage determinations
for value based care2 Recent courses included instruction at these venues:


     •   American Health Information Management Association 2016, Baltimore, MD
     •   JP Morgan Healthcare Conference 2015, San Francisco, CA
     •   Wolters Kluwer 2015 webcast
     •   Duke Life Health System 2013, Pittsburgh, PA
     •   HIMSS 2014
     •   AAPC Annual Conference 2012, Las Vegas



1
  Trained by published author in HIPAA privacy and security and advisor to CMS, HHS on Meaningful use of
Electronic Health Records, currently lead training sessions for HIPAA covered entities
2 Lead training for pharmacists, hospitals, physicians, health IT value based care firms



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Non- Litigation Consulting in Healthcare, Software, Financial Services
2007 to Present - No World Borders – I lead a healthcare data, regulatory, and
economic consulting firm as Managing Partner. Our business provides advisory services
on disruptive health care regulations for hospitals, insurance companies, self-insured
employers, and health IT companies and investors.


Summary of Accomplishments and Experience

I work with hospital systems, physician groups, and health IT companies, health plans,
investors, and law firms. I was selected as an expert for a landmark Federal Trade
Commission case regarding healthcare data, regulations and economics. I currently
serve as managing partner of No World Borders. I am:

•     A writer and speaker quoted in Wall Street Journal, and a regular speaker with
      published works as an expert in the field.

•     Prepared by leading litigation firm in Rule 702 including applying scientific or
      specialized knowledge (702(a)); facts (702(b)); application of principles and methods
      (702(c)); application of criteria, principles, methodology, test methods (amended in
      Daubert, 2000 - (702(d)) before FTC Commissioner.

•     An advisor to value based care companies including Medicare Advantage, Medicare
      Shared Savings Accountable Care Organizations.

•     Led investor diligence on $4 billion in health care merger and acquisition transactions.

•     Trained in clinician, coder, medical billing, claims, E.H.R, hospital and practice
      management software, regulatory, usual, customary and reasonable (UCR) medical
      and prescription charges.

•     Opinions on over $1 billion in medical reimbursements for inpatient facilities (inpatient
      prospective payment system or IPPS and DRGs, ICD-9) and ambulatory (non-facility
      using CPT codes)




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Regulatory Consulting for Health Care Provider and Healthcare I.T. Firms

I competed for, won and led these among other account engagements where large global
firms were also bidding on the business:


•   Duke Life Point Academic Medical Ctr Pittsburgh - ACO, ICD-10, Revenue Cycle
    Strategy; HCC risk adjustment for Medicare Advantage. Evaluate over $1 billion in health
    care claims for risk adjustment, audit quality using RADV methods, clinical documentation
    coding quality. Evaluate Meaningful Use compliance risk with respect to storage and
    security of discrete data from medical records, data conversion strategies, analytics
    strategies.

•   Advisory to E.H.R., Accountable Care Organizations, practice management IT
    companies - manage a team that has advised over 100 companies on Meaningful Use,
    Medicare Advantage, ACA, ICD-10 regulations. Ambulatory, acute care – MU1, MU2,
    DSM-5, CPT, ICD-9, ICD-10, clinical documentation, HIPAA, Clinical Quality Measures,
    CA Civil Code §56;

•   Nemours Children’s Hospital, Orlando Florida Meaningful Use of Electronic Health
    Records, HIPAA transactions for claims processing, HIPAA secure clinical and physical
    plant data interoperability strategy of clinical and health care claims data using enterprise
    web services solutions. Sharing of data in emergencies between clinical staff and security
    to protect pediatric patients.

•   Credible, Inc. a leading behavioral health electronic health record software vendor
    Advise regarding compliance with HIPAA Privacy and Security in general and specific
    privacy and security rules for the Behavioral Health specialty, International Classification
    of Diseases version 10 versus DSM 5, Accountable Care Organizations and Managed
    Care for Behavioral Health.




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Regulatory Consulting for Health Plan, Self-Insured Employer Regulations

I competed for, won and led these among other account engagements where large global
firms were also bidding on the business:

   •   Excellus Blue Cross Blue Shield – Rochester New York. Lead consulting
       engagement to remediate health plan enrollment process and TriZetto Facets Claims
       system. Rescue project from off-budget, off plan and restore to on time on budget.

   •   Blue Cross Blue Shield / Triple – S (Salud Puerto Rico) – Lead implementation of
       TriZetto QNXT claims system including all process models, software implementation
       and project management office.

   •   Preferred Care – Florida - Medicare Advantage HEDIS 5-Star Ratings, provider
       network clinical data, Utilization Management, Coordination of Benefits, Case
       Management and claims processing, chart review quality audits and analytics, risk
       adjustment using HCC and ICD-9 coding, RADV audit methods, RAPS file analytics.

   •   United Healthcare, Florida - Medicare Advantage HEDIS 5-Star Ratings, provider
       network clinical data, Utilization Management, Coordination of Benefits, Case
       Management and claims processing using HCC and ICD-9 coding, RADV audit
       methods, RAPS file analytics.

   •   Public Employees Health Plan – Salt Lake City Utah – Advise and assess re: new
       medical coding and medical policy management remediation to comply with ICD-10
       which impacts medical policy plan design, actuarial processes, covered amounts,
       utilization management, eligibility, referrals, covered amount and other factors.

   •   Regence BlueCross BlueShield, Seattle, Salt Lake, Portland - HITECH Act,
       HIPAA 5010, ICD-10 processes, DRGs, Ambulatory claims, Ancillary Services, and
       IT architecture to enable these capabilities which impacts medical policy plan design,
       actuarial processes, covered amounts, utilization management, eligibility, referrals,
       covered amount calculations and other factors.

   •   Walmart – largest self-insured non-military employer globally – advice regarding
       HIPAA insurance claims transactions, CORE operating rules, ICD-10, Affordable
       Care act business and regulatory issues and underlying systems and process issues
       for the largest self-insured employer in the world.

   •   TennCare – Tennessee Medicaid and TN Insurance Exchange eligibility


   •   Citra Health Solutions, Jacksonville FL – Advisor to CEO. Advise leadership
       regarding value based care, HIPAA privacy and security, meaningful use, strategic


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        partnerships and acquisitions for Medicare Advantage and Accountable Care market.
        Focus on Value Based Pricing, Medicare Advantage Risk Adjustment using HCCs;
        population health, patient and physician engagement and quality reporting.

Investor Diligence - $4 billion in Health IT M&A transactions

Selected as advisor, investor diligence on large healthcare mergers and acquisitions.

    •   London PE Firm - pre-IPO cloud security business for healthcare.
    •   Kleiner Perkins Caufield & Byers, Silicon Valley – work with founding partners of
        VC that funded Google, Netscape, Amazon, Amgen, Intel, Sun Microsystems on
        largest cloud healthcare investment in Medicare Advantage and Accountable Care
        population health management and analytics
    •   In-Network and Out of Network medical charges, 340B Drug discount provider


    •   NY PE Firm – diligence on $500 million acquisition of Medicare Administrative
        Contractor (MAC) electronic data connectivity and services company. Evaluate
        financial projections and growth potential, capabilities regarding claims status, new
        EDI standards, medical policy plan design, actuarial processes, covered amounts,
        utilization management, eligibility, referrals, covered amount calculations and other
        factors.

Medical Device, Pharmaceutical Regulatory Compliance
    Abbott Labs, Medical Optics Div (formerly Advanced Medical Optics) - Regulatory
    Affairs, FDA Compliance – led global complaint handling roll out (US, UK, EU, Asia) of
    pharmacovigilance solution supporting FDA Adverse event reporting rules, National
    Drug Codes (NDCs), HCPCS, formularies, and health insurance coverage
    determinations for pharmaceuticals.

Prior Experience

October 2002 to February 2007 – First American / CoreLogic - SVP eCommerce –
Banking solutions $8 billion firm. Led one of the largest most complex Sarbanes Oxley IT
audits in the U.S. according to attorneys and accounting firm. Led roll out of single platform
eCommerce solution to integrate Wells Fargo, JP Morgan Chase, Bank of America and other
transactions for mortgage loan origination (credit, valuation, tax, flood, title, etc.), closing,
securitization.

2002 to October 2003 – Fidelity - SVP eCommerce – Banking solutions $12 billion firm



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May 2000 to 2002 – Citrix Systems – President & CEO (Erogo, a SaaS Cloud billing
company) Built cloud SaaS billing company from $500k to $10 million in revenue and
investment by Citrix

June 1997 to October 1999 to 2000 Axway / Worldtalk, Silicon Valley – VP Marketing for a
secure email and Cloud / Internet of Things (IoT) interoperability company.

June 1997 to October 1999 - Heidrick & Struggles, Silicon Valley – President & CEO,
LeadersOnline – Set strategy acquired assets led launch of Internet recruiting business as
portion of IPO prospectus (S-1) and IPO road show with Goldman Sachs adding $100 million
to market cap of Heidrick at IPO


September 1981 – May 1997 – Smith Tool, Oracle, HP, Symantec, Intel, ParcPlace
Systems, Borland, Ashton-Tate – Silicon Valley, Southern California, Boston – roles from
analyst to Product Manager, VP Marketing and Sales, Corporate Development. Built a
company from $2 million to $50 million buyout, owner of $350 million P&L and brand re-
launch, turn around.




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                                   CV ATTACHMENT 1
                      Healthcare Transactions and Processes
          to Support Claims, Care Coordination and Financial Value of Care


     Health Care Processes – Health Plans


 •   Value Based Care Reporting for Medicare Part C and Medicare Shared Savings
     Plan Accountable Care Organizations including: HEDIS, MSSP 33 measures, HCC
     coding, risk adjustment, risk corridors, RADV and RAC audits, compliance platforms

 •   Payor - provider contracting – Mr. Arrigo leads a team that has over 30 years of
     health care provider and health insurance contract negotiation experience for
     hospitals, clinics and diagnostic services providers. Mr. Arrigo and his team
     have advised 18 hospitals and clinics, four medical device and pharmaceutical firms,
     two healthcare IT firms, and two four insurance firms as well as CMS in all 50 states
     on new regulatory impacts. He and his team have advised on over 2,000 contracts.

 •   Explanation of benefits – Mr. Arrigo’s team advises health plans on the revisions in
     EOBs that must be made to comply with new laws and regulations such as ICD-10.

 •   Actuarial & Underwriting – Mr. Arrigo and his team advise health plans on shifts in
     coverage determinations and medical policy based on the Affordable Care Act, ICD-
     10, CORE Operating rules and other regulations.

 •   Coverage determination planning and policy, IT systems supporting new regulations.

 •   Claims processing metrics – pass through rates, manual vs. electronic claims
     adjudication and Utilization Management (UM) rates.

     Health Care Processes and IT – Hospitals, Clinics Physicians and Other Providers
 •   Payor - provider contracting – Mr. Arrigo leads a team that has over 30 years of
     health care provider and health insurance contract negotiation experience for
     hospitals, clinics and diagnostic services providers. Mr. Arrigo and his team
     have advised 18 hospitals and clinics, four medical device and pharmaceutical firms,
     two healthcare IT firms, and two four insurance firms as well as CMS in all 50 states
     on new regulatory impacts. Over time he and his team have advised on over 2,000
     contracts.

 •   Readmissions metrics                                 •   Four of the Top 10 Electronic Health
 •   Clinical documentation, coding,                          Record Companies – Cerner,
     claims reimbursement                                     Athenahealth, NextGen; assessed
 •   Admission and discharge processes                        five mid-tier E.H.R. companies with
     and metrics                                              respect to Meaningful Use, HIPAA
 •   Revenue cycle management and                             and Information Safeguards
     metrics (DNFB – discharged not                           compliance.
     final billed, etc.)




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                                            CV ATTACHMENT 2
Private Payor, ACO, IDN, Medicare (Part A, B, C, D), Health IT Experience
      Additional Experience with Health Systems Providers
      ICD-10, HIPAA 5010, HIPAA Privacy and Security, Clinical Quality Measures Consulting Expert Work

  Feather River Hospital -
  http://www.frhosp.org                                      Selma Community Hospital -
                                                             http://www.adventisthealthcv.com
  Frank R. Howard Memorial Hospital -
  http://www.howardhospital.com                              Sonora Community Hospital -
                                                             http://www.sonoramedicalcenter.org
  Glendale Adventist Medical Center -
  http://www.glendaleadventist.com                           St. Helena Hospital -
                                                             http://www.sthelenahospital.org
  Loma Linda University and Loma
  Linda Medical Center -                                     Ukiah Valley Medical Center -
  http://www.llu.edu/llumc/                                  http://www.uvmc.org

                                                             White Memorial Medical Center -
  San Joaquin Community Hospital -                           http://www.whitememorial.com
  http://www.sjch.us


  Additional Experience with Health Plans


  ICD-10, HIPAA 5010, HIPAA Privacy and Security, Clinical Quality Measures Consulting
  Expert Work

     •   Blue Cross Blue Shield of                              •   Blue Cross Blue Shield of
         Oregon                                                     Washington State
     •   Blue Cross Blue Shield of Utah                         •   CareFirst Blue Cross – Mid-
     •   Public Employees Health Plan of                            Atlantic Region
         Utah                                                   •   BCBS of Tennessee –
     •   Blue Cross Blue Shield of Idaho                            Chattanooga, TN

  Over ten Value Based Care Organizations (Accountable Care Organizations or ACOs
  and Medicare Advantage / Part C Plans including Essence Health Plan St. Louis, United
  Healthcare and Preferred Care Partners.




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                                           CV ATTACHMENT 3
Investor Transactions and Diligence
                                                                              Enterprise Value
            Investor                         Target Company
                                                                                 ($millions)
    Confidential $4 billion     Ability Networks (leading Medicare claims           $550
    PE fund, New York           technology infrastructure)
    Confidential $4 billion     HealthPort, an electronic release of HIPAA           $120
    PE fund, New York           information service provider
    PE fund, confidential,      Confidential ePCR (electronic patient care       Confidential
    west coast                  record) EMS (emergency management
                                system) platform
    $300 million specialty      Orange Health (now Citra Health) (Value               $25
    PE fund, New York           based care for ACOs, MA plans)
    $300 million specialty      MZI, a health care claims processing                  $25
    PE fund, New York           software vendor
    Kleiner Perkins Caufield    Lumeris, an Essence Global Holdings Co.              $600
    & Byers, Menlo Park CA      (Value based care for ACOs, MA plans)
    Large Private Equity        Covisint, a spin out of Compuware (cloud             $450
    firm, London                user access mgmt.)
    U.S. Private Equity firm,   Evaluation of Diabetic population insulin            TBD
    San Francisco               initiation and titration mobile technology
                                for glycemic control compared with
                                standard clinical practices.
    U.S. Private Equity firm    Drug formulary business, impact of               Confidential
                                specialty reimbursement in
                                endocrinology, hematology and
                                dermatology and new drug discoveries
    Public Debt Investor        E.H.R. software co. debt offering                confidential
    Confidential                Confidential healthcare analytics co.               $280
    Confidential                Confidential hospital revenue cycle                  $190
                                management (RCM) business
    Confidential                Confidential Electronic Data Interchange             $150
                                claims co. health insurance
    Confidential                Genetic Testing and Precision Medicine               $300
    Confidential                Health system with multi-site hospital,             $1,000
                                physician group, clinic diagnostic imaging
    Confidential                Health IT solutions : Dispensary                 confidential
                                automation for oral and Intravenous Anti-
                                Emetic Drugs for Chemotherapy
                                Chemotherapeutic Regimen
    Confidential                Pharmacy Benefit Management (PBM)                    $600
                                    Total Enterprise Value ($millions)              $4,934



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                                       CV ATTACHMENT 4 (page 1 of 2)
Affordable Care Act, Medicaid, Social Security, Insurance Exchange,
Benefits Determination and Orthotics Reimbursement
Experience with regulations, technology and requirements for systems supporting 15 State HHS
Medicaid insurance Exchange eligibility systems including these business requirements, which in turn
provide state-by-state eligibility for Affordable Care Act insurance mandates:

Types of Exchanges and Enrollee Characteristics:
§ Federal (HHS) Exchanges “Federally-Facilitated Marketplace” (“FFM”) which are being used in
   states such (FL, GA, NC, SC, VA, AL, MS, MO, AR, LA, OH, PA, IL, OK, MT, UT, ND, SD, NE)
   and provider contracting
§ State Based Exchange (“SBEs”) and state-by-state variances (CA, WA, ID, CO, KY, MN, NY, VT,
   RI, CT, MA, DE, MD, DC)
§ State MMIS – Medicaid Management Information Systems, which provide some of the eligibility
   technology platform for the Exchanges

Eligibility Process, Technology for State Health and Public Welfare
§ Request for insurance, pre-existing conditions under Affordable Care Act
§ 42 CFR MAGI – Modified Adjusted Gross Income (U.S. Citizenship, criminal and State Residency,
    household size and FPL % [see FPL])
§ FPL percentage – percent of Federal Poverty Level
§ TANF – Temporary Assistance to Needy Families (formerly AFDC) / The Personal Responsibility
    and Work Opportunity Reconciliation Act of 1996 (Public Law 104-193) and TEFRA
§ SNAP – Supplemental Nutrition Assistance Program (formerly food stamps)
§ Medicaid – free and low-cost health care to low income families
§ CHIP – Children’s Health Insurance Program (Medicaid for kids)
§ Women, Infants & Children (WIC) – nutritional supplement for pregnant women, infants and
    children (until school age)
§ Section 1619(b) of the Social Security Act re: Social Security beneficiaries, Medicaid eligibility.

Durable Medical Equipment, Prosthetics, Orthotics, Supplies (DMEPOS)
Generally familiar with 280 classifications of HCPS and specifically:
1.  Alarm Device                                           12. Passive Motion Exercise Device
2.  Ambulatory Traction Device                             13. Power Mobility Devices
3.  CPAP Device                                            14. Reaching/Grabbing Device
4.  Dynamic Flexion Devices                                15. Repair of Prosthetic Device
5.  EMG Device                                             16. Repair/Modification of Augmentative
6.  Foot Off Loading Device                                    Communicative System or Device
7.  Monitoring Feature/Device                              17. Skin Piercing Device
8.  Ocular Prosthetics                                     18. Speech Generating Device
9.  Oral Device to Reduce Airway                           19. Standing Devices/Lifts
    Collapsibility                                         20. Stimulation Devices
10. Orthopedic Devices                                     21. TMJ Device and Supplies
11. Pain Management                                        22. Ventricular Assist Devices



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                                   CV ATTACHMENT 4 (page 2 of 2)
State HHS Eligibility Systems and Jurisdictions
         Jurisdiction                          State Systems and Processes

            Alaska        Eligibility Information System (EI)

           Arizona        Arizona Technical Eligibility Computer System (AZTECS)

           Georgia        SHINES, COMPASS, Vitale Events, Medicaid Data Broker

            Hawaii        Hawaii Automated Welfare Information System (HAWI)

           Kansas         Kansas Automated Eligibility & Child Support Enforcement System
                          (KAECSES)

          Louisiana       Medicaid Eligibility Data System (LA MEDS)

       Massachusetts      Mass 21st Century Disability Policy (MA-21)

          Minnesota       MAXIS – state, county eligibility for public assistance, health care;
                          exchanges data with Medicaid Management Information System
                          (MMIS), MN Employment and Economic Development, MN Dept. of
                          Finance, and US Social Security Admin

         Mississippi      Mississippi Applications Verification Eligibility Reporting Information and
                          Control System (MAVERICS)

        Pennsylvania      COMPASS – health care, cash, long-term, home, supplemental nutrition
                          (SNAP) eligibility

        Rhode Island      INRhodes and ] UHIP data and functions for the Family Independence
                          Program, Food Stamps, Child Support Enforcement, Medicaid Eligibility,
                          Child Care, Public Assistance

       South Carolina     Family Independence Financial System (FIFN)

         Tennessee        TennCare and SSI (Supplemental Security Income Under Social
                          Security Administration)

           Vermont        ACCESS

         Washington       Automated Client Eligibility Determination System (ACEDS)
            DC

          Wyoming         EPICS (Eligibility Payment Information Computer System)




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                                              CV ATTACHMENT 5
Meaningful Use of Electronic Health Records
      Mr. Arrigo manages a team that has worked with over 100 electronic medical records
     vendors and health care providers regarding achieving Meaningful Use (MU) under the
           HITECH Act as well as MU audit defense v. CMS, OIG and CMS Auditors

Meaningful Use (MU) is composed of a complex list of Objectives, including HIPAA privacy,
Personal Health Information Safeguards, Clinical Quality Measures (CQMs), clinical decision
support (CDS), transitions of care, data portability, auditable events, patient engagement,
and other measures. Mr. Arrigo has opined as an Expert regarding MU provides opinions
and guidance on all of the following factors:

     •   Authorized Testing and Certifications Bodies (ATCBs) and processes
     •   Eligible Hospital (EP) and Eligible Provider (EP) attestations and audit defense under
         Medicare and Medicaid in Civil and Criminal defense cases. Data quality check on
         numerators and denominators in live data vs. attestation reporting.
     •   Stimulus funds, OIG, CMS auditors
     •   HHS OCR, HIPAA breaches, State CMIA breaches and stimulus eligibility
     •   Modular and Complete E.H.R. certifications
     •   Discrete data structures
     •   HIPAA Privacy and Security Assessments as a Component of MU and the
         Administrative, Physical, Technical Safeguards of HITECH Act as well as Operational
         Policies, Procedures and Documentation and HIPAA overlapping requirements.
     •   Clinical workflow for both acute care and ambulatory E.H.R.s

Meaningful Use Stage 1:                                   Meaningful Use Stage 2:

Eligible professionals:
                                                          Eligible professionals:
•   13 required core objectives                          •   17 core objectives
•   5 menu objectives from a list of 9                   •   3 menu objectives that they select from
•   Total of 18 objectives                                   a total list of 6
                                                         •   Total of 20 objectives
Eligible hospitals and CAHs:                              Eligible hospitals and CAHs:

•   11 required core objectives                          •   16 core objectives

•   5 menu objectives from a list of 10                  •   3 menu objectives that they select from
                                                             a total list of 6
•   Total of 16 objectives
                                                         •   Total of 19 objectives



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                                            CV ATTACHMENT 6
Healthcare Business Transactions, Supporting HIPAA X12 Electronic
Transactions

   45 CFR Part 162 Health Insurance Reform; Modifications to the Health Insurance
               Portability and Accountability Act (HIPAA); Final Rules


           1. Health Care Eligibility Benefit Inquiry and Response – EDI 270/271
           2. Health Care Claim Status Request / Response – EDI 276/277
           3. Health Care Services Request for Review / Response (Prior Auth.) – EDI 278
           4. Payroll deductions for premiums – EDI 820
           5. Benefit enrollment and maintenance – EDI 834
           6. Health care claim: Payment / Advice – EDI 835,
           7. Health Care Claim: institutional, professional / dental – EDI 837, Pharmacy
               claim (NCPDP), Coordination of Benefits (COB) and third party liability

Modifications to § 162.1102, § 162.1202, § 162.1302, § 162.1402, § 162.1502, § 162.1602,
§ 162.1702, and § 162.1802 to adopt the ASC X12 Technical Reports Type 3 (TR3), Version
005010 (Version 5010) reporting of clinical data, enabling the reporting of ICD–10–CM
diagnosis codes and ICD–10–PCS procedure codes




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                                            CV ATTACHMENT 7
Revenue Cycle Management, Clinical Documentation and Coding
Processes
       Lead team that implements hospital system assessments for ICD-10 and CPT coding
                              compliance and quality, including:

CDI (Clinical Documentation Improvement) strategy and alignment between HIM department,
coders, nursing, physicians. Benefits of coder-physician collaboration, and securing results
in improved coding. Engage case managers to focus on CDI trends, work with physicians
that are the largest admitters. Understanding of key processes including:

   Patient intake

   Patient assessment

   Documentation of care
   Insurance coverage determination
   Discharge activities
   Provider communications
   Referrals
   Prior authorizations
   Coding
   Charge capture, super bills
   Billing
   Revenue collection
   Vendor impacts
   EHR and other system readiness to support CDI
   IT plans
   Impact on concurrent initiatives
   Reporting

   Quality improvement efforts

   Payor readiness and processes; medical policy assumptions for contracting

   Institutional Review Board (IRB) impact review for ICD-10

      Data warehouse and business intelligence “retooling” of analytics required.
   National Correct Coding Initiative (NCCI), Modifiers, Bundling and Unbundling
   Criteria According to Centers for Medicare and Medicaid




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                       CV ATTACHMENT 8 – Drug Pricing Practices
Experience using analytics to identify UCR (Fair Market Value) in
Pharmaceutical Pricing

  •   Re-Defining AWP                                      •   Mail-Order Schemes
  •   % Factor                                             •   Leveraging Captive Facility
  •   NDC price reporting                                  •   Multiple MAC Lists
  •   Mark-Ups & Price Spreads                             •   Drug Switching
  •   Backroom Processor Schemes                           •   Drug Repackaging
  •   Rebate Schemes                                       •   Fraudulent Plan Design
  •   Flat, Access, Market Share                           •   Zero Cost Scripts
  •   Rebate Disguising                                    •   Higher Than Logic
  •   Rebate Pumping                                       •   Pocketing Refunds, Reversals and
  •   Re-Defining “Brand” and “Generic”                        Returns
  •   Formulary Steering                                   •   Payor Account Crediting Tricks
  •   Pre-Authorization Schemes                            •   Specialty Drug Issue
  •   Clinical Rules & Protocols




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                                        CV ATTACHMENT 9
HIPAA Privacy Rule and HIPAA Security Rule, HITECH Act Information
     Safeguards and State Statutes in WA, CA, NV, NY, MA, FL
          Lead team that assesses and advises regarding industry best practices and
        implementation of HIPAA Privacy and Security as well as HITECH Act, including:

Security best practices for HIPAA Covered Entities

HHS Security Standards:

   1. Administrative Safeguards
   2. Physical Safeguards
   3. Technical Safeguards
   4. Organizational Policies and Procedures and Documentation Requirements
Opinions regarding but not limited to:
   •   “Breach” under the Privacy Rule, including but not limited to, 45 C.F.R. § 164.402.
   •   “Business Associate” under the Privacy Rule, including but not limited to, 45 C.F.R. §
       160.103.
   •   “Covered Entity” under the Privacy Rule, including but not limited to, 45 C.F.R. § 160.103.
   •   “Designated Record Set” under the Privacy Rule, including but not limited to, 45 C.F.R. §
       164.501.
   •   “Disclosure” under the Privacy Rule, including but not limited to, 45 C.F.R. § 160.103.
   •   “Electronic Protected Health Information” or “ePHI” under the Privacy Rule, including but
       not limited to, 45 C.F.R. § 160.103.
   •   “Individual” under the Privacy Rule, including but not limited to, 45 C.F.R. § 160.103.
   •   “Minimum Necessary” under the Privacy Rule, including but not limited to, 45 C.F.R. §§
       164.502(b) and 164.514(d).
   •   “Privacy Rule” Standards for Privacy of Individually Identifiable Health Information at 45
       C.F.R. Part 160 and Part 164, Subparts A and E.
   •   “Protected Health Information” or “PHI” in 45 C.F.R. §§ 160.103 and 164.501, and is the
       information created or received by BA
   •   “Required by Law” in 45 C.F.R. § 164.103.
   •   “Security Incident” shall have the meaning given to such term under the Security Rule,
       including but not limited to, 45 C.F.R. § 164.304.
   •   “Security Rule” 45 C.F.R. Part 160 and Part 164, Subparts A and C.
   •   “Subcontractor” under the Privacy Rule, including but not limited to, 45 C.F.R. § 160.103.
   •   “Unsecured Protected Health Information or PHI” under the Privacy Rule, including but
       not limited to, 45 C.F.R. § 164.402.
   •   “Use” under the Privacy Rule, including but not limited to, 45 C.F.R. § 160.103.




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       CV ATTACHMENT 10 Rural Health Centers (RHCs), Critical Access Hospitals
                    (CAHs), Federally Qualified Health Centers (FQHCs)
Section 10501(i)(3)(B) of the Affordable Care Act
Rural Health Clinics Act (P.L. 95-210)
•    Use of grants under TRICARE program under chapter 55 of title 10, United States
     Code for administrative programs.
•    All-Inclusive Rate Reimbursement (AIRR)
•    Prospective Payment System (PPS)
•    CMS 222 financial reports for RHCs and FQHCs and basis for reports supported by
     clinical documentation and medical coding
•    Baseline Practitioner Productivity Standards
•    Historical perspective regarding Benefits Improvement and Protection Act of 2000
     (BIPA) and State Medicaid program reimbursement RHCs (In lieu of cost-based
     reimbursement, Medicaid shifted RHCs to a PPS methodology)
•    Industry best practices and guidelines and compliance to U.S. HHS / Health
     Resources and Services (HRSA) standards including:


                                          STATUTE
         Needs Assessment                 Section 330(k)(2) of the PHS Act
    1.
                                          Section 330(k)(3)(J) of the PHS Act
         Required and Additional          (Section 330(a) of the PHS Act)
    2.
         Services                         (Section 330(h)(2) of the PHS Act)
         Staffing Requirement             (Section 330(a)(1), (b)(1)-(2), (k)(3)(C), and (k)(3)(I) of
    3.
                                          the PHS Act)
         Accessible Hours of              (Section 330(k)(3)(A) of the PHS Act)
    4.
         Operation/Locations
         After Hours Coverage             (Section 330(k)(3)(A) of the PHS Act and 42 CFR Part
    5.
                                          51c.102(h)(4))
         Hospital Admitting Privileges    (Section 330(k)(3)(L) of the PHS Act)
    6.
         and Continuum of Care
         Sliding Fee Discounts            (Section 330(k)(3)(G) of the PHS Act, 42 CFR Part
    7.
                                          51c.303(f)), and 42 CFR Part 51c.303(u))
         Quality                          (Section 330(k)(3)(C) of the PHS Act, 45 CFR Part 74.25
    8.
         Improvement/Assurance Plan       (c)(2), (3) and 42 CFR Part 51c.303(c)(1-2))


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       Key Management Staff               (Section 330(k)(3)(I) of the PHS Act, 42 CFR Part
 9.
                                          51c.303(p) and 45 CFR Part 74.25(c)(2),(3))
       Contractual/Affiliation            (Section 330(k)(3)(I)(ii), 42 CFR Part 51c.303(n), (t)),

 10.   Agreements                         Section 1861(aa)(4) and Section 1905(l)(2)(B) of the
                                          Social Security Act, and 45 CFR Part 74.1(a) (2))
       Collaborative Relationships        (Section 330(k)(3)(B) of the PHS Act and 42 CFR Part
 11.
                                          51c.303(n))
       Financial Management and           Section 330(k)(3)(D), Section 330(q) of the PHS Act and
 12.
       Control Policies                   45 CFR Parts 74.14, 74.21 and 74.26)

 13.   Billing and Collections            (Section 330(k)(3)(F) and (G) of the PHS Act)
       Budget                             (Section 330(k)(3)(D), Section 330(k)(3)(I)(i), and 45 CFR
 14.
                                          Part 74.25)
       Program Data Reporting             (Section 330(k)(3)(I)(ii) of the PHS Act)
 15.
       Systems
       Scope of Project                   (45 CFR Part 74.25)
 16.
       Board Authority                    (Section 330(k)(3)(H) of the PHS Act and 42 CFR Part
 17.
                                          51c.304)
       Board Composition                  subsection (g), (h), (i), or (p). (Section 330(k)(3)(H) of the
 18.
                                          PHS Act and 42 CFR Part 51c.304)
       Conflict of Interest Policy        (45 CFR Part 74.42 and 42 CFR Part 51c.304(b)).
 19.




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               CV ATTACHMENT 11 - Clinical Documentation, Coding, Billing,
                             Reimbursement Training

   1. National Correct                  ICD-10, IPPS, OPPS                 Outpatient physical,
      Coding (NCCI)                     payment systems                    occupational, and
      claims edits, Sept                November 2013iv                    speech therapy,
      2012.                                                                ambulance and non-
                                     14. Diagnostic Imaging                emergency
   2. Ambulance billing                  & Nuclear Medicine                transportation,
      fees and trauma                    (PET-Scans)                       January 2016vii
      triage and State,                  September 2014v
      Federal CDC trauma                                               20. Valuing episodes of
      activation criteria            15. Medical Auditing,                 Care: a) episodic, b)
      Sept 2012.                         including focus on                bundled payments,
                                         anesthesiology,                   c) value based
   3. Behavioral health,                 pathology,                        payment / risk
      November 2013ii                    evaluation                        adjustments, d)
                                         management,                       episode groupers,
   4. Cardiology,
                                         radiology,                        methodologies, e)
      November 2013
                                         chemotherapy,                     PBM / pharmacy
   5. Family practice and                psychotherapy,                    charges, f) costs
      internal medicine,                 physical therapy,                 associated with
      November 2013                      modifiers, medical                complications, g)
                                         necessity. November               prospective,
   6. Obstetrics,                        2015vi
                                                                           retrospective, and
      November 2013
                                     16. Dietetics and                     predictive modeling;
   7. Oncology,                          Nephrology, insulin               h) claims
      November 2013                      DME billing for                   adjudication in
                                         diabetes, December                episodic processes,
   8. Urology, November                                                    ACOs, MAOs, fiscal
                                         2015, AHIMA
      2013                                                                 intermediaries,
                                     17. Liens, balance                    PROMETHIUS
   9. Orthopedics,
                                         billing, subrogation              analytics payment
      November 2013
                                         seminar, 2014                     model for risk
   10. General Surgery,                                                    adjustment,
                                     18. Affordable Care Act
       and Dental,                                                         comorbid factors and
                                         ‘metal’ plans,
       November 2013                                                       cohorts, data
                                         Medicaid expansion,
                                                                           required to produce
   11. Plastic Surgery,                  Federal Poverty
                                                                           episodic care
       November 2013                     Level guidelines on
                                                                           analysis; June
                                         cost of care, 2014
   12. HCC, risk                                                           2016viii
       adjustment,                   19. Coding and
       November 2013iii                  reimbursement for
                                         Pain Management,
   13. DRG calculations,                 December 2015;
                                                                                                 5
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                   CV ATTACHMENT 12 – Medical / Laboratory Test Fees

Opinions regarding economic value and medical necessity (based on the diagnosis of a
licensed medical professional or retained medical expert provided to me as a precursor to
rendering my opinion) as determined in payor medical policies and coverage determinations
for medical laboratory test that can be used to detect, diagnose, or monitor diseases,
disease processes, and susceptibility to disease or predisposition based on genetics. Areas
of expertise include:


   1. diagnosis (associated diagnosis codes are an important indicator of medical necessity
       as determined in payor medical policies and coverage determinations) and billing
       codes including:
           a. ICD-10-CM which is U.S. standard from October 1, 2015 forward
           b. ICD-9-CM – for dates of service prior to October 1, 2015
           c. CPT – for outpatient procedures (for example 8500 - Blood count; blood smear,
               microscopic examination with manual differential WBC count)
           d. NCCI – National Correct Coding Initiative to verify whether bundled procedures
               and other factors are acceptable
   2. overview of the test
   3. utility - when/why/how the test is used
   4. diseases the test is often used to detect or monitor as this pertains to coding and
       billing and economic value of the test in a specific geographic market or based on
       national standards, as well as:
           a. specimen collection methods/procedures (for example, whole blood collection)
           b. testing methodology (for example, hematology)
           c. usual turnaround time (for example, days elapsed time)
           d. reference ranges for test results (normal, abnormal, male / female values etc.)
           e. additional or related tests


NOTE: Interpretation of tests is performed by a licensed medical professional and if that
interpretation is provided to me in patient medical record(s), it may be useful in opinions
regarding payer determinations or economic value. I do not give medical opinions.




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                                                                                                      2
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       CV ATTACHMENT 13 – Ambulance, Trauma Activation Fees, Anesthesiology

Industry best practices and guidelines for determining economic value and medical necessity
(which may be based on the diagnosis of a licensed medical professional or retained medical
expert provided to me as a precursor to rendering my opinion) as determined in payor
medical policies and coverage determinations

Ambulance Fees

   1. Patient’s condition - medically indicated / contraindicated
   2. Medical Necessity as determined by CMS
   3. Use of licensed personnel as a determinant of fees
   4. Non-covered ambulance services
   5. Transportation to or from one hospital or medical facility to another hospital or medical
      facility, skilled nursing facility, or free-standing dialysis center in order to obtain
      medically necessary diagnostic or therapeutic services
   6. Mileage
   7. Waiting time
   8. Necessary equipment and supplies as determinant of fees
   9. Supplies (bundled / unbundled, Date of Service and applicable standards)


Trauma Activation Fees


   •    CDC Guidelines for Field Triage of Injured Patients: Recommendations of the
        National Expert Panel on Field Triage
   •    County and Provider standards for Triage and documentation for Trauma Activation

Anesthesiology Fees

   1. Time unit intervals, or fraction thereof, starting from the time the physician begins to
        prepare the patient for induction and ending when the patient may safely be placed
        under post-operative supervision and the physician is no longer in personal
        attendance. Actual time units will be paid and are not to be rounded.
   2. Base Units and their values are described by industry regulatory and standards
        bodies
   3. Anesthesia Conversion Factors for geographic adjustments
   4. Industry best practices for billing and coding




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    CV ATTACHMENT 14 – Staff and Operational Policies for Healthcare Providers
                Certification Review Process Guidelines and Best Practices:
           Health Care Staffing Services Certification, Personnel File Review, Joint
                                  Commission Standards 3:

1. Current licensure, certification, or registration required by the state, the firm, or customer
   from primary sources
2. Education and training associated with residency or advanced practice, experience, and
   competency appropriate for assigned responsibilities
3. Clinical work history/references
4. Initial and ongoing evaluation of competency
5. Information on criminal background according to law, regulation, and customer
   requirements
6. Compliance with applicable health screening and immunization requirements established
   by the firm or customer
7. Information on sanctions or limitations against an individual’s license is reviewed upon
   hire, and upon reactivation or expiration.
8. For individuals who are practicing as Licensed Independent Practitioners, in addition to
   the aforementioned requirements, the firm performs the following according to law,
   regulation, and firm policy: Voluntary and involuntary relinquishment of any license or
   registration is verified and documented
9. Voluntary and involuntary termination of hospital medical staff membership is verified and
   documented
10. Any evidence of an unusual pattern or an excessive number of professional liability
   actions resulting in a final judgment against the applicant is investigated and documented
11. Documentation that the staff person has received orientation from the organization




3 In order for a health care organization to participate in and receive payment from the Medicare or

Medicaid programs, it must meet the eligibility requirements for program participation, including a
certification of compliance with the Conditions of Participation (CoPs) or Conditions for Coverage
(CfCs), which are set forth in federal regulations. The certification is based on a survey conducted by
a state agency on behalf of the federal government, the Centers for Medicare & Medicaid Services
(CMS) or a national accrediting organization, such as The Joint Commission, that has been approved
by CMS as having standards and a survey process that meets or exceeds Medicare’s requirements.
Health care organizations that achieve accreditation through a Joint Commission deemed status
survey are determined to meet or exceed Medicare and Medicaid requirements.


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i Although the name ‘health informatics’ only came into use in about 1973 (Protti 1995) it is a study

that is as old as healthcare itself. It was born the day that a clinician first wrote down some
impressions about a patient’s illness, and used these to learn how to treat their next patient. The
world is aging and there are increasing numbers of people with chronic disease; it is recognized that
the only sustainable option is planning and delivery of healthcare through technology innovation.
Biomedical Informatics seeks to discern the difference between data, information, knowledge and
wisdom by increasing sharing and comprehension. Professor Enrico Coiera of the Macquarie
University argues that health informatics is the logic of healthcare. Dr. Mark Musen MD PhD
Professor, Medicine - Biomedical Informatics Research at Stanford points out that that digital
information has made knowledge infinitely larger for clinicians, and they are now are in a knowledge
management crisis – getting the right information at the right time is the challenge.
ii
      Training delivered by MD, board certified orthopedic surgeon and AHIMA certified trainer who advised CMS in
all 50 states, AHIMA certified inpatient coder and chart auditor, AAPC certified outpatient coder and chart
auditor
iii
      Used in Medicare Part C (Medicare Advantage “MAO”) Accountable Care (ACO) organizations
iv
      Training delivered by MD, board certified orthopedic surgeon who advised CMS in all 50 states
v Training delivered by Radiology Certified Coder (RCC), Certified Interventional Radiology Cardiovascular

Coder (CIRCC), Certified Professional Coder (CPC) credentialed instructor
vi American Academy of Professional Coders (AAPC)

vii Training delivered by National Association of Rehabilitation Providers (NARP) trainer

viii Health Care Incentives Improvement Institute, HC3i




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Michael Mirando

From:                 WarLawyer@aol.com
Sent:                 Friday, January 27, 2017 11:20 AM
To:                   mike@holterlabs.com; jcarson@noworldborders.com
Cc:                   marrigo@noworldborders.com
Subject:              Re: Mirando Retainer


J Carson,

This request is for Dr. Michael Arrigo.

Kevin Barry Mc Dermott, Esq,

Law Offices of Kevin Barry Mc Dermott
300 Spectrum Center Drive, Suite 1420
Irvine, California 92618


949-596-0102
949-861-3825 facsimile
WarLawyer@aol.com
WarLawyer.com

(please note – as of February 2, 2015, our building address changed from 8001 Irvine Center Drive to 300 Spectrum
Center Drive due to a local street readdressing. This is an address change only, not a physical relocation of our offices.)

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may contain confidential and privileged information. Any unauthorized review, use, disclosure or distribution is prohibited.

In a message dated 1/27/2017 11:18:22 A.M. Pacific Standard Time, mike@holterlabs.com writes:

Hello,




I would like to retain you regarding my case. I am represented by Kevin Mc Dermott. Your retainer agreement states that I
will be able to submit payment via Credit Card and to contact your office to arrange payment.




Please call me when you have time so that I can supply you will my payment information.




Thanks,




-Michael Mirando

                                                                 1

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                                                      #:121

Michael Mirando

From:                WarLawyer@aol.com
Sent:                Thursday, March 2, 2017 6:38 AM
To:                  mike@holterlabs.com
Cc:                  warlawyer@aol.com
Subject:             Initial expert review report
Attachments:         Arriego report.pdf


We will discuss this today. Both good and bad but a lot of work for the government to prove the case

Kevin Barry Mc Dermott, Esq,

Law Offices of Kevin Barry Mc Dermott
300 Spectrum Center Drive, Suite 1420
Irvine, California 92618


949-596-0102
949-861-3825 facsimile
WarLawyer@aol.com
WarLawyer.com

(please note – as of February 2, 2015, our building address changed from 8001 Irvine Center Drive to 300 Spectrum
Center Drive due to a local street readdressing. This is an address change only, not a physical relocation of our offices.)

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Michael Mirando

From:            WarLawyer@aol.com
Sent:            Friday, March 17, 2017 3:58 PM
To:              mike@holterlabs.com
Cc:              warlawyer@aol.com
Subject:         Re: Mirando - Updated findings report - DRAFT PRIVILEGED AND CONFIDENTIAL WO...
Attachments:     USA_001335_Anthem - 10.11.2005 to 12.31.2008 - annotated by arrigo.xlsx; USA_001337_BCBS - Jan
                 2005 to Dec 2008 - annotated by Arrigo (Autosaved).xlsx; USA_001337_BCBS - Jan 2005 to Dec 2008
                 - annotated by Arrigo.xlsx; USA_001372_Cigna - 2009 to 2013 - annotated by Arrigo.xlsx;
                 Indictment.pdf; Guideline research.pdf



Michael,

I have received your e-mails and certainly have passed them along. Your input is being
considered by Mr. Arriego and he has taken your comments into consideration. What you have
to understand is that we have 60,000 pages of discovery that we are culling through and we are
endeavoring to create a plausible defense to the charges that you are facing. As we have
discussed, circumstances prevent you from being able to testify in your defense; too many doors
that could be opened on cross-examination. [Quickly on that topic, found my invoice from
10/19/13 regarding our prior discussions and know exactly what we did and did not discuss]
Accordingly, the expert is working through the documents in order to parse our way through a
minefield of billings.

The very best news to date is the complete lack of any record purportedly from you that admits
to knowing involvement in the offenses. Clearly, there are no prior statements from you, no e-
mails that incriminate and the manner in which the billing was conducted does not directly
point to you; signature on a submission does not amount to an admission of knowledge. In a
case involving 18 U.S.C. 1347, the government must prove that you knowingly intended to
defraud a healthcare provider. That means the government needs to put in the minds of a jury
your state of mind. The documents don't reveal any such knowledge. But the continuing review
of the documents by Mr. Arriego is essential and I know that in his recent report and in the
forwarded e-mail invoice from Jennifer, he has asked for additional funds.

Get it paid. Here is why, as I have made clear before. You face serious time.

As we have discussed, getting indicted by the federal government is like being diagnosed with
cancer. Even though the bar is very low to get an indictment, it is as devastating an event that
could ever occur in one's life. Accordingly, every conceivable effort and resource must be
thrown at the government to defeat the charges. Failure to do so would mean substantial time in
prison and the loss of all of your assets.

Attached to this e-mail are the four latest spreadsheets done by Mr. Arriego that came to me
earlier this week. He is analyzing the specific counts in your indictment; if you don't recall the
                                                      1

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counts, I have attached a copy of the indictment. Should you be convicted of these offenses, and
if the government's calculation of loss is accepted by the court in sentencing, the sentence could
range as high as 51 months in custody and the court will issue a forfeiture order allowing the
government to seize every asset that you own to recover the losses suffered.

How is this calculated? I am also attaching to this e-mail a three part document. The first part is
entitled "Federal Fraud Sentencing Guidelines." The second part is entitled "Sentencing Table."
The final part is from a blog post that I received from Mr. Arriego explaining the changes to the
federal sentencing guidelines after the passage of Obamacare. In a nutshell, the punishment is
harsher now than it was 10 years ago. In the event of a conviction, the base offense level would
be calculated as 6. The loss, in excess of $1,000,000 but less than $2,500,000, adds 16 levels. In
that you have no criminal history, your Sentencing Table category would be I. As I have
highlighted on the Table, the sentencing range could be 41-51 months.

These are just rough calculations but they are ballpark. Other factors can apply to increase or
decrease the level of punishment.

As with any case, a plea is one way to mitigate the punishment and payment of a substantial
portions of the loss would also mitigate the punishment but it would not assure you a sentence
that did not include confinement. If an offer was made to repay what the government believes
was the loss, negotiations could occur that gives you a shot at probation but there are no
guarantees on that at all. In the case involving Parsons, he repaid $7,000,000 and still did a year
and a day in custody.

If a plea and repayment is not an option, then a full throated defense needs to be waged as the
government will not back down despite all of the negative evidence given to them about Cast
and Crowley. That means spending what needs to be spent to put on the best possible defense.
In light of the lack of evidence of admission on your part and the need for the government to
use Cast and Crowley as witnesses to try and prove that, you have good odds. But Mr. Arrigo
will be able to tell us more about how to attack the evidence related to the charges as long as he
is able to work on the case and work on the case now.

What you also need to understand is that the government will ask for a forfeiture order if a
conviction occurs. This court will give that order. That will allow the Feds to seize every piece
of property that you own, either directly or through any LLC that you control until they recover
the entire amount of the loss. And dumping assets on family and friends in an effort to shield
the assets would be easily unwound by the Feds.

Hence, I would suggest a soul searching weekend. Either commit to making the best possible
deal or slugging this battle out to the end.

I am discussing Mr. Arrigo's research further over this weekend. We are fortunate to have
someone of his credentials and he is certainly sympathetic, fully understanding the true nature
of Cast and Crowley. But he needs to continue working. Let's get it done.
                                                 2

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                                                      #:130

Kevin Barry Mc Dermott, Esq,

Law Offices of Kevin Barry Mc Dermott
300 Spectrum Center Drive, Suite 1420
Irvine, California 92618


949-596-0102
949-861-3825 facsimile
WarLawyer@aol.com
WarLawyer.com

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please contact this office immediately, and delete the message without reviewing, copying, or making further use of the
information contained therein.


In a message dated 3/16/2017 8:51:40 P.M. Pacific Daylight Time, mike@holterlabs.com writes:

Kevin,



This is much of the same as before when I commented on this via the attached e-mail. Did
you ever forward the attached e-mail to the expert? I have sent you two lengthy explanations
per your request (one is attached and the other one was regarding the Parsons case) and you
have not responded to any of them. Are you not receiving them?



-Michael Mirando



From: WarLawyer@aol.com [mailto:WarLawyer@aol.com]
Sent: Thursday, March 16, 2017 7:56 AM
To: mike@holterlabs.com
Subject: Fwd: Mirando - Updated findings report - DRAFT PRIVILEGED AND CONFIDENTIAL
WO...



Michael,




Latest work up by our expert. Please review thoroughly and provide me with written comments by tomorrow
noon. We will phone com tomorrow 1400.


                                                              3

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                                                     #:131




Kevin Barry Mc Dermott, Esq,

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From: marrigo@noworldborders.com
To: WarLawyer@aol.com
Sent: 3/15/2017 7:57:11 P.M. Pacific Daylight Time
Subj: RE: Mirando - Updated findings report - DRAFT PRIVILEGED AND CONFIDENTIAL
WORKPRODUCT




Kevin please see attached.


Regards

Michael Arrigo



-----Original Message-----
From: "Michael Mirando" <mike@holterlabs.com>
To: <WarLawyer@aol.com>
Subject: RE: Initial expert review report
Date: Thu, 2 Mar 2017 11:46:37 -0700


Kevin,

I read the report and please let the expert know that I really appreciate him having my back on this. I really need
some great teammates right now.
                                                             4

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                                                      #:132

Regarding the code 95827, I was told by Stan Crowley that this code is to be used for the Sleep Apnea via ECG
portion of the test; page 12-13 on the attached sample report. The attached report is an actual report from a real
patient that wore one of our devices; I just changed the name and date-of-birth for privacy purposes. There is also
a code (95806) that is also a code for Sleep Apnea, but to my knowledge (as been told by Stan) this is only billed
if the first one (95827) was not being reimbursed or if the insurance company does not recognize the code. Code
93226 is the tech part of the report generation while physicians are to bill for the professional.

In regards to code 93271 which is for cardiac events, these are reflected in pages16-23 of the attached report.
These strips clearly shows specific events during this patients recording. I was told to bill this anytime events are
recorded. There is even an “Event” button at the top of the recorder so that patients can press in the event they
feel an abnormality. To my knowledge, code 93229 is a newer version of code 93271 but has some other
capabilities and pays at a higher rate. These are the codes that I specifically asked Medicare if we are allowed to
bill. Medicare audited our services before we were issued a Medicare number. The two related e-mails are
attached; one from 2014 and one from 2017.

Every paper claim that we submit, I send a description of services sheet (attached) along with the claim. I have
NEVER been contacted or questioned about the services we render or the reimbursement codes that we are
using. The attached sheet is set in on EVERY paper claim and clearly show a description of what (at least of
what we thought) these services entailed. Never once was I questioned. This alone shows no intent of wrong
doing. I am showing the insurance company exactly the descriptions of the codes billed.

When the expert mentions obtaining the patients’ medical records, before I am even able to bill for services
rendered, or even able to know a patients name, the patients primary care physician (PCP) faxes us the patients
insurance along with their personal information; sex, DOB, address, phone and diagnosis (ICD). The PCP hooks
their patient up with the monitor and after the recording gets summited to us and a report rendered, only then do I
bill for our part.

We are potentially saving people’s lives and deserve to receive reimbursements. I was taught to bill this way by
Jim Cast and Stan Crowley that had been in the industry for years. I was never informed by a doctor, regulatory
agency, nor any insurance company that I was in the wrong. Unlike the Cast and Crowley’s former companies
that they turned-in to the government, we only billed for the technical part of the test (not the doctors part or the
global part) we did not change diagnosis codes (ICD9/10) to obtain a higher reimbursement, we did not pay
kickbacks to any doctors, or obtain the patients pedigree and insurance information illegally.

I just want this over with as this is putting a great deal of stress on me and my family. Please have your expert
call me anytime in the event he has questions regarding the aforementioned or anything else.

Thanks,

-Michael Mirando
949-466-3015

From: WarLawyer@aol.com [mailto:WarLawyer@aol.com]
Sent: Thursday, March 2, 2017 6:38 AM
To: mike@holterlabs.com
Cc: warlawyer@aol.com
Subject: Initial expert review report

We will discuss this today. Both good and bad but a lot of work for the government to prove the case

Kevin Barry Mc Dermott, Esq,

Law Offices of Kevin Barry Mc Dermott
300 Spectrum Center Drive, Suite 1420

                                                              5

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                                                    #:133
Irvine, California 92618


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                                                        #:134

Michael Mirando

From:               WarLawyer@aol.com
Sent:               Monday, April 3, 2017 4:25 PM
To:                 marrigo@noworldborders.com; mike@holterlabs.com
Subject:            Re: US v. Mirando, 16-215--Plea Agreement


Roger..

In a message dated 4/3/2017 4:25:11 P.M. Pacific Daylight Time, marrigo@noworldborders.com writes:

949-633-5664




On 4/3/17, 4:23 PM, "WarLawyer@aol.com" <WarLawyer@aol.com> wrote:




Roger. Let me know what # you will be at and we can do a three way call.




In a message dated 4/3/2017 4:22:37 P.M. Pacific Daylight Time, marrigo@noworldborders.com writes:

 I can do 11am tomorrow – please confirm?




 Michael Arrigo

 949-633-5664 mobile

 949-335-5580 x101 office

 marrigo@noworldborders.com




 On 4/3/17, 8:06 AM, "WarLawyer@aol.com" <WarLawyer@aol.com> wrote:



                                                         1

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       Case 2:23-cv-04498-PA             Document 1-3 Filed 06/05/23                Page 99 of 156 Page ID
                                                     #:135
Gentlemen,




We have until close of business tomorrow to accept or close the door on the plea offer. I suggest we
use today to wrap up as much a review of the discovery and conduct a conference call tomorrow around
1100 to finalize a decision. As I view the evidence, unless the dox tell us otherwise, there is no evidence
of specific intent, at least not without Cast & Crowley. And they are required to testify, I really like the
odds




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From: Michael.Freedman@usdoj.gov
To: WarLawyer@aol.com
Sent: 3/24/2017 3:31:14 P.M. Pacific Daylight Time
Subj: US v. Mirando, 16-215--Plea Agreement




Kevin,




Please see the attached letter and plea agreement offered to Mr. Mirando. As noted, please
let me know by April 4 whether Mr. Mirando accepts this agreement.




Regards,

                                                             2

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     Case 2:23-cv-04498-PA               Document 1-3          Filed 06/05/23             Page 100 of 156 Page ID
                                                            #:136
Michael



Michael G. Freedman | Assistant United States Attorney
1100 United States Courthouse | 312 North Spring Street | Los Angeles, California 90012
T: 213.894.0631 | F: 213.894.0141 | michael.freedman@usdoj.gov




                                                               3

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         Case 2:23-cv-04498-PA           Document 1-3        Filed 06/05/23         Page 101 of 156 Page ID
                                                          #:137

Michael Mirando

From:                WarLawyer@aol.com
Sent:                Tuesday, April 4, 2017 4:00 PM
To:                  mike@holterlabs.com
Subject:             Fwd: Mirando Filing
Attachments:         AUSAbios.docx; Stats.docx


Michael,

Received a response back from Freedman. We will be gearing up for trial.

Per our discussion below, I need the balance of the retainer in the trust account by the end of the week. As almost
everything in my office will be placed on the back burner while I concentrate on your case, I need to know I have payment
for prep and trial.

Thanks

Kevin Barry Mc Dermott, Esq.

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Irvine, California 92618

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WarLawyer@aol.com
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From: WarLawyer@aol.com
To: mike@holterlabs.com
Sent: 10/8/2016 1:16:08 P.M. Pacific Daylight Time
Subj: Re: Mirando Filing

Michael,

I am forwarding the language of the statutes as well as the bios on the AUSAs assigned to your case. neither
have had a high profile case that has hit the wire.

As we discussed, I will ask that you deposit $100,000 in my client trust account, Kevin Barry McDermott Attorney
Client Trust Account, Wells Fargo acct # 0344641956, routing number 121000248. I will use $25,000
immediately and this amount will be non-fundable, and I will bill at $400 per hour through the course of the
relationship and I will make the retainer work to cover pre-trial and trial. If we need to retain experts for
testimony. that will be extra.

                                                             1

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                                                        #:138
I am getting your e-mails. As soon as you have a travel schedule, we will sit down and discuss.

Kevin Barry Mc Dermott, Esq.

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WarLawyer.com

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In a message dated 10/7/2016 6:53:04 P.M. Pacific Daylight Time, mike@holterlabs.com writes:

See attached.




-Mike




                                                           2

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         Case 2:23-cv-04498-PA             Document 1-3         Filed 06/05/23         Page 103 of 156 Page ID
                                                             #:139

Michael Mirando

From:                 WarLawyer@aol.com
Sent:                 Wednesday, April 12, 2017 10:31 AM
To:                   mike@holterlabs.com
Subject:              Re: Witness NOT taking Stand


He is being told that he most likely will not. But we may still receive addittional evidence prior to trial.

And we discussed why we needed his involvement,,,,

In a message dated 4/12/2017 8:21:55 A.M. Pacific Daylight Time, mike@holterlabs.com writes:

Kevin,



I have paid him just over $51,000 so far with this last invoice. Does he know that he is not taking the
stand? The last time I spoke to him, he seemed to think that he was.



-Michael Mirando




From: WarLawyer@aol.com [mailto:WarLawyer@aol.com]
Sent: Wednesday, April 12, 2017 7:55 AM
To: mike@holterlabs.com
Subject: Re: Updated hours and balance due - Arrigo



So, the full $31k has been paid?




In a message dated 4/12/2017 7:28:44 A.M. Pacific Daylight Time, mike@holterlabs.com writes:

 Kevin,



 As I stated before, I did not have the credit to put this on my credit card. I sent a check IN
 FULL and he had an issue with this. This invoice has been paid.



 You need to stop sending me these panic e-mails and trust me. I have never NOT paid a bill.



                                                                1

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                                                        #:140
-Michael Mirando




From: Warlawyer [mailto:warlawyer@aol.com]
Sent: Wednesday, April 12, 2017 4:09 AM
To: mike@holterlabs.com
Subject: Fwd: Updated hours and balance due - Arrigo



What r u waiting on? We are wasting an entire while u do this

Sent from my iPhone


Begin forwarded message:

        From: Michael Arrigo <marrigo@noworldborders.com>
        Date: April 12, 2017 at 3:10:53 AM EDT
        To: Kevin Mc Dermott <WarLawyer@aol.com>
        Subject: Updated hours and balance due - Arrigo

        Kevin, attached for your client is the updated statement of hours, billings, payments
        received and balance.

        We need the balance of the retainer paid to continue. Michael Mirando has paid
        $10,000 of the total invoice so far.




        I have more to share this week that should be helpful.




        Thank you,




        Michael Arrigo

        949-633-5664 mobile

        949-335-5580 x101 office

        marrigo@noworldborders.com




                                                           2

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        Case 2:23-cv-04498-PA                  Document 1-3      Filed 06/05/23   Page 105 of 156 Page ID
                                                              #:141

Michael Mirando

From:                   WarLawyer@aol.com
Sent:                   Friday, April 14, 2017 5:58 AM
To:                     mike@holterlabs.com
Subject:                Re: Trial Memo


No, that relevant..

In a message dated 4/14/2017 5:57:23 A.M. Pacific Daylight Time, mike@holterlabs.com writes:
Should we also put in the brief that Crowley intentionally missed 4 scheduled depositions? This shows me that
he's hiding something.

Just a thought.

-Michael Mirando
 (sent via phone)

-------- Original message --------
From: WarLawyer@aol.com
Date: 4/14/17 4:37 AM (GMT-08:00)
To: mike@holterlabs.com
Subject: Re: Trial Memo

Done, I am going to keep the $24k theft as it is... the more it looks like Cast & Crowley colluded the
better. Besides, when we get Crowley on the stand we will make it look like that was the reason Better spin. All
else good catches. Also, want to keep Brown's role to a minimum until after Crowley is gone....

In a message dated 4/13/2017 8:13:20 A.M. Pacific Daylight Time, mike@holterlabs.com writes:

 Kevin,



 This is awesome. Below are some notes indicating some incorrect dates and details that need
 to be corrected. I added some details for clarification that you may or may not wish to use.



 ------------------------------------------------------



 Page 1, line 21: They raided my home around 5:45am when it was still dark out. They were all
 gone by 6:30am.



 Page 1, line 27: I did not see “FBI” until I opened the front door. I put my home defense pistol
 back in its holster by my bed when I noticed flashing blue\red lights as I was walking down the
 stairs towards the front door. I thought it was the Portland Police.



                                                                1

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     Case 2:23-cv-04498-PA           Document 1-3       Filed 06/05/23      Page 106 of 156 Page ID
                                                     #:142
Page 2, line 3: I was released just after lunch, NOT in the evening after I was seen in court
with handcuffs and ankle shackles.



Page 3, line 27: I was not aware that Casts wife worked at National Cardio. Crowley’s
wife (Erika) worked there and performed billing along with Cast.



Page 4, line 16: The date on the operating agreement was March 2005, not May. We all
signed in June 2005 in front of a notary.



Page 4, line 20: The CA filings for our company was in January 2005 (01/10/2005), not 2006.



Page 4, line 25: I was a Systems Engineer at Intel in charge of the Server and Network
infrastructure; I had nothing to do with Phones.



Page 5, line 1: I knew that they were involved in a lawsuit as they would always talk about all
of the money that they would get, but I did not know all the details. Crowley would always say,
“I can’t wait until I get Rob money”. I knew that he was referring to “Rob” Parsons.



Page 5: line 11: Casts capital contribution was only supposed to be monetary to the tune of
30K not including equipment. He DID NOT put in a dime. Neither did Crowley; Crowley just put
in some old devices that he stole from National Cardio to which we replaced shortly after he
told me they were stolen from his old company.



Page 5; line 24: Crowley was NOT “asked” to join Specialized Medical, he formed it together
with Steven Burns. Crowley’s name was left off of the paperwork intentionally due to his
involvement with Holter Labs and his tax issues (not filing returns). He was being paid under
the table by Specialized Medical (and may still be?) so he did not have to file a tax return (this
is my assumption).



Page 5; line 26: Specialized Medical was formed on 12/19/2011 according to the CA Sec of
State business database; NOT in 2012. I left for Oregon on October 7th 2011.



Page 6; line 7: Crowley stole 24k in CASH on 11/30/2012 via Chase Bank.



                                                        2

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       Case 2:23-cv-04498-PA                  Document 1-3      Filed 06/05/23   Page 107 of 156 Page ID
                                                             #:143
Page 6; line 8-10: Crowley stole the 24k AFTER the suit was filed by Cast. Cast did not use
this money since the suit was already filed and his attorney (Kevin Day) was on contingency.
Crowley used the 24k to hire an attorney to mediate with me about breaking up the company
in December 2012. This meeting took place in Joe’s conference room. At this point, Crowley
stated that he did not know about the Cast lawsuit; which we now know is not true.



Page 6; line 28: I purchased the Civil case for 60K in April 2016; NOT in 2015.



Page 7; line 6-7: Jim Brown has always been our software developer since our inception as a
company in 2005. He acted as a tech, replacing Crowley’s duties, since Crowley left the
company in December 2012.



Page 7; line 15: Should this be “The Defendant attests”…?



------------------------------------------------------



Hope this helps.



-Michael Mirando




From: WarLawyer@aol.com [mailto:WarLawyer@aol.com]
Sent: Wednesday, April 12, 2017 6:13 PM
To: mike@holterlabs.com
Subject: Trial Memo



Michael,




This will be filed Friday, If you have any comments or questions, I will respond tomorrow eve.




Kevin Barry Mc Dermott, Esq.

Law Offices of Kevin Barry Mc Dermott
300 Spectrum Center Drive, Suite 1420
Irvine, California 92618
                                                               3

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      Case 2:23-cv-04498-PA           Document 1-3        Filed 06/05/23        Page 108 of 156 Page ID
                                                       #:144
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WarLawyer.com

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        Case 2:23-cv-04498-PA            Document 1-3         Filed 06/05/23        Page 109 of 156 Page ID
                                                           #:145

Michael Mirando

From:                WarLawyer@aol.com
Sent:                Tuesday, April 18, 2017 8:33 AM
To:                  mike@holterlabs.com
Subject:             Discovery
Attachments:         2017 04 06.Interview_with_Stanton_Crowley.pdf; Under Seal Application_12APR2017.pdf; Under Seal
                     Proposed Order_12APR2017.pdf




Kevin Barry Mc Dermott, Esq.

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        Case 2:23-cv-04498-PA            Document 1-3         Filed 06/05/23        Page 110 of 156 Page ID
                                                           #:146

Michael Mirando

From:                WarLawyer@aol.com
Sent:                Tuesday, April 18, 2017 8:34 AM
To:                  mike@holterlabs.com
Subject:             Discovery III
Attachments:         Criminal History.Mirando.Crowley.Cast.2017 04 10.pdf; Flow of Funds_Where Money Came From.pdf;
                     Flow of Funds_Where Money Went To.pdf; Holter Labs DMS Report_DMSDQ1241 Holter
                     Labs_Request.pdf; Holter Labs DMS Report_DMSDQ1241 Holter Labs_Spreadsheet.pdf; Holter Labs.
                     FBI Holds in Evidence-Report.2017 04 07.pdf; Holter Labs. FBI_1A-1C-Report.2017 04 07.pdf




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                                                           #:147

Michael Mirando

From:                WarLawyer@aol.com
Sent:                Tuesday, April 18, 2017 8:35 AM
To:                  mike@holterlabs.com
Subject:             Discovery IV
Attachments:         Anthem Claims Analysis Submitted Since Arrest_Pivot Table.pdf; Anthem Claims Analysis Submitted
                     Since Arrest_Request.pdf; Anthem Claims Analysis Submitted Since Arrest_Spreadsheet.pdf; Claims
                     Request Letter.04062017.pdf




Kevin Barry Mc Dermott, Esq.

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                                                           #:148

Michael Mirando

From:                WarLawyer@aol.com
Sent:                Tuesday, April 18, 2017 8:36 AM
To:                  mike@holterlabs.com
Subject:             Discovery V
Attachments:         Bennett.pivot table of insurance claims.pdf; Foster Sixtos pivot table of Holter claims.pdf;
                     Hattrup.pivot table of insurance claims.pdf; Martha Bennett.patient medical records.pdf; Pivot table
                     of insurance claims for Lisa Solmor.pdf




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                                                           #:149

Michael Mirando

From:                WarLawyer@aol.com
Sent:                Tuesday, April 18, 2017 8:43 AM
To:                  mike@holterlabs.com
Subject:             Discovery VI
Attachments:         Amended_Operating Agreement -Holter Labs LLC.pdf; HolterLabs Doc Address-MAIN_2005.pdf;
                     HolterLabs Doc Address-MAIN_2006.pdf; HolterLabs Doc Address-MAIN_2007.pdf; HolterLabs Doc
                     Address-MAIN_2008.pdf; HolterLabs Doc Address-MAIN_2009.pdf; HolterLabs Doc Address-MAIN_
                     2010.pdf; HolterLabs Doc Address-MAIN_2011.pdf; HolterLabs Doc Address-MAIN_2012.pdf;
                     HolterLabs Doc Address-MAIN_Contacts.pdf; HolterLabs Doc Address-MAIN_Dr. Address.pdf;
                     HolterLabs Doc Address-MAIN_Holter Inventory.pdf; HolterLabs Doc Address-MAIN_Old Doctors.pdf;
                     HolterLabs Doc Address-MAIN_Providers.pdf


Check out the blank operating agreement Crowley provided

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Michael Mirando

From:                WarLawyer@aol.com
Sent:                Tuesday, April 18, 2017 8:27 AM
To:                  mike@holterlabs.com
Subject:             Discovery received yesterday
Attachments:         Ally Bank - 09.10.2015 Declaration FGJ.pdf; Audi Wilsonville - 02.24.2015 Declaration FGJ.pdf; Bank of
                     America - 09.29.2014 Declaration FGJ.pdf; Bank of the West - 09.10.2015 Declaration FGJ.pdf;
                     JPMorgan Chase - 09.24.2014 Declaration FGJ.pdf


Mike,

You will receive a series of e-mail today from me with copies of the records we received in discovery yesterday. If
anything needs to be discussed, let me know.

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App. 121                                                                     USA_025998
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App. 122                                                                     USA_025999
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App. 123                                                                     USA_026000
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App. 126                                                                     USA_026003
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App. 129                                                                     USA_025995
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                                                            #:161

Michael Mirando

From:                WarLawyer@aol.com
Sent:                Tuesday, April 18, 2017 9:23 AM
To:                  mike@holterlabs.com
Subject:             Re: Questions




In a message dated 4/18/2017 9:16:01 A.M. Pacific Daylight Time, mike@holterlabs.com writes:

.  Can we bring up to the jury that this case was not handled like a normal white collar case? We need to
convey to the Jury what I have been through that that the government has over stepped their bounds.

2.    Can we bring up that Crowley hasn't filed tax returns since 2002? This will go against their claim that I was
instructing him not to file tax returns; which is untrue. He didn't file them even before we started in business in
2005. I know that we have Crowley not filing since 2008, but that was just because of the statute of limitations.
will get done

3.    If he wanted his story heard, why did he refuse to show up for 4 scheduled civil depositions? Now he wants
to talk. This is purely money driven and the jury HAS to know his history. will get done

4.   Jim Brown (Software Guy) states that these devices can record up to 15 days. Should we get a statement
from him on this and that I know nothing about this software? But not 30 days.

5.  Will the jury know how much time that I will be facing if I am found guilty? I can't see them wanting to send
be away for 51 months over this non-sense. Too much doubt. no

6.    Did they supply you all of the requested documents and information that you asked for when you declined
their plea offer? yes

7.   My name was on everything due to Stan's poor credit. Bank account, credit card, office lease, billing
software, fax software, everything!. This is the same thing that he is doing with Steve Burns at Specialized
Medical.

8.    Murrieta Medical Supply was Stan's and Frank Flints idea (Parsons tax guy) he had me set this up due to
his tax issues. Statute of limitations? Its been SIX YEARS since we used this company. If we can't mention the
Cast messages, how can they admit this? This has nothing to do with taxes but everything to do with false
invoices...... this is WHY you cannot get on the stand. If the jury hears that you participated in a scam to
bury taxes through false invoices, they will convict you on the spot

9.  Our reports provide all services that we billed for. The physician has billing sheets and descriptions of the
codes used in the material that we sent them when they requested our services. See attached.

10.   The insurance company gets a description of codes billed with every claim we filed.

11. Even if Crowley says he did not Bill. He still knew all of the billing codes in order for us to bill. That’s all the
knowledge that is needed for us to bill. He knew the codes very well as he has been in the business for 20 years.

12. Can't we bring up Casts messages since Cast admits that Crowley instructed him what to write in the e-
mails and what to say on the voicemails? Cast admits this in his depo. we can

13. The government never interviewed Jim Brown (Scanning Software) or the person that controls our Server
and developed our transmission software. His name is Ryan Matson out of Texas. This will be covered

                                                               1

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14. Can we get Specialized Medicals banking records to support that Crowley is working for Steven Burns.
Cast says this in his depo. Can we admit this? No

15.    Can we pick apart the Grand Jury transcripts? Just sent it to you

-----------------------------------------




                                                             2

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                                                           #:163

Michael Mirando

From:                WarLawyer@aol.com
Sent:                Sunday, April 23, 2017 3:27 PM
To:                  mike@holterlabs.com
Subject:             Govt version of the case
Attachments:         ExhibitList4.21.xlsx; TrialMemoFILED.pdf


Michael,

The government has filed a trial memo as well as an exhibit list. They are actually questioning whether they will call
Crowley which would be a huge mistake if they don't. There examination of the records are almost as thorough as
Arriego's review. They may try to argue that the billing deceit was so widespread, everyone involved had to know. With
that argument, they will have to give Crowley a grant of immunity.

The exhibit list is largely a compilation of the discovery we have been provided.

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1 Exhibit    Description                                                                                        Bates Range                            Stipulation
2          1 Holter Device
3          2 Images of Holter Device                                                                            USA_000001-000004
4          3 Datrix Flyer for Holter Device                                                                     USA_000646-000647
5          4 Datrix 510(K) Premarket Notification Summary                                                       USA_028260-028265
6          5 Datrix Invoice to Caird Technology                                                                 USA_000690
7          6 Datrix Invoice to Lynn Medical                                                                     USA_000652-000670
8          7 Datrix Invoices to Holter Labs                                                                     USA_000703-000708
9          8 Summary Chart of Holter Labs Orders from Datrix                                                    USA_029032
10         9 Holter Labs Website-FAQs                                                                           USA_000218-000219
11        10 Holter Labs Website-How to Start                                                                   USA_000220
12        11 Holter Labs Website-Services                                                                       USA_000221
13        12 Holter Labs Website-What We Do                                                                     USA_000222
14        13 Holter Labs Website-Your Benefit                                                                   USA_000223
15        14 Holter Labs Promotional Materials                                                                  USA_001264
16        15 Holter Labs Promotional Materials                                                                  USA_001265
17        16 Holter Labs Promotional Materials                                                                  USA_001269
18        17 Holter Labs Inventory List                                                                         USA_001227-001236
19        18 Holter Labs Order Form                                                                             USA_001129-001131
20        19 Intentionally Blank
21        20 Email from Stan Crowley to Michael Mirando, 11/30/2012                                             USA_001132
22        21 Records of Holter Labs Claims Submitted to Blue Shield                                             USA_001065-001084, USA_001027-001064
23        22 Intentionally Blank
24        23 Holter Labs, LLC's Answer to the Verified First Amended Complaint                                  USA_000009-000014
25        24 Michael Mirando's Answer to the Verified First Amended Complaint                                   USA_000116-000120
26        25 Defendants Holter Labs, LLC's and Michael Mirando's Motion to Require Plaintiffs to Furnish a SecurUSA_000174-000217
27        26 Proffer Letter Re: Stanton Crowley, September 17, 2013                                             USA_001212-001215
28        27 Martha Bennett Patient Medical Records                                                             USA_028272-028275
29        28 Holter Order Form for Martha Bennett, 12/3/2012                                                    USA_001978-001980
30        29 Holter Labs Report for Martha Bennett, 12/3/12                                                     USA_025256-025282
31        30 Custodian Declaration for Order Form and Report (Identification Only)                              USA_001973-001977                      ID Only
32        31 United Health Group Claims File for 12/3/12 Holter Labs Claim for Martha Bennett                   USA_001843-001845
33        32 United Health Group Claims File for 12/4/12 Holter Labs Claim for Martha Bennett                   USA_001846-001848
34        33 United Health Group Claims File for 12/6/12 Holter Labs Claim for Martha Bennett                   USA_001849-001851
35        34 United Health Group Claims File for 12/10/12 Holter Labs Claim for Martha Bennett                  USA_001852-001854
36        35 Checks from United Health Group to Holter Labs                                                     USA_001366-001368
37        36 Summary Chart of Claims Submitted by Holter Labs to United Health Group for Martha Bennett         USA_026253
38        37 United Health Group Claims Data                                                                    USA_002363
39        38 United Health Group Claims Data                                                                    USA_002364



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40        39 United Health Group Claims Data                                                              USA_002365
41        40 United Health Group Custodian Certification (Identification Only)
42        41 John Hattrup Patient Medical Records                                                         USA_001900-001903
43        42 Holter Labs Report for John Hattrup, 4/11/2011                                               USA_025212-025222
44        43 Custodian Declaration for Order Form and Report (Identification Only)                        USA_001833-001887
45        44 United Health Group Claims File for 4/11/11 Holter Labs Claim for Martha Bennett             USA_001826-001830
46        45 United Health Group Claims File for 4/12/11 Holter Labs Claim for Martha Bennett             USA_001831-001833
47        46 United Health Group Claims File for 4/15/11 Holter Labs Claim for Martha Bennett             USA_001834-001836
48        47 United Health Group Claims File for 4/18/11 Holter Labs Claim for Martha Bennett             USA_001840-001842
49        48 United Health Group Claims File for 4/18/12 Holter Labs Claim for Martha Bennett             USA_001837-001839
50        49 Checks from United Health Group to Holter Labs                                               USA_001448-001451
51        50 Summary Chart of Claims Submitted by Holter Labs to United Health Group for John Hattrup
52        51 United Health Group Claims Data                                                              USA_002363
53        52 United Health Group Claims Data                                                              USA_002364
54        53 United Health Group Claims Data                                                              USA_002365
55        54 United Health Group Custodian Certification (Identification Only)                            USA_002361-002362
56        55 Lisa Solmor Patient Medical Records                                                          USA_002084-002086, USA_002108
57        56 Holter Labs Report for Lisa Solmor, 5/28/2013                                                USA_025235-025255
58        57 Custodian Declaration for Order Form and Report (Identification Only)                        USA_002027-002031
59        58 Holter Order Form for Lisa Solmor, 5/28/13                                                   USA_001633
60        59 Aetna Claims File for 5/29/2013 Holter Labs Claim for Lisa Solmor                            USA_001756-001757
61        60 Aetna Claims File for 5/30/2013 Holter Labs Claim for Lisa Solmor                            USA_001741-001742
62        61 Intentionally Blank                                                                          USA_001694-001724
63        62 Summary Chart of Claims Submitted by Holter Labs to Aetna for Lisa Solmor                    USA_026261
64        63 Aetna Claims Data                                                                            USA_002153
65        64 Aetna Claims Data                                                                            USA_002154
66        65 Aetna Claims Data                                                                            USA_002155
67        66 Aetna Custodian Certification (Identification Only)
68        67 Intentionally Blank                                                                          USA_002150-USA_002151
69        68 Intentionally Blank                                                                          USA_002152
70        69 Intentionally Blank
71        70 Holter Labs Report for Stacey Foster, 8/10/2011                                              USA_001928-USA_001971
72        71 Custodian Declaration for Holter Report (Identification Only)                                USA_001916-USA_001920
73        72 Holter Order Form for Stacey Foster, 8/10/2011                                               USA_001816
74        73 Cigna Claims File for 8/10/2011 Holter Labs Claim for Stacey Foster                          USA_001815-001818
75        74 Cigna Claims File for 8/11/2011 Holter Labs Claim for Stacey Foster                          USA_001821-001822
76        75 Cigna Claims File for 8/18/2011 Holter Labs Claim for Stacey Foster                          USA_001819-001820
77        76 Cigna Claims File for 8/24/2011 Holter Labs Claim for Stacey Foster
78        77 Summary Chart of Claims Submitted by Holter Labs to Cigna for Stacey Foster



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79          78 Cigna Claims Data                                                                       USA_002211
80          79 Cigna Claims Data                                                                       USA_002212
81          80 Cigna Claims Data                                                                       USA_002213
82          81 Cigna Custodian Certification (Identification Only)
83          82 Intentionally Blank
84          83 Michael Mirando DMV record                                                              USA_000361
85          84 Summary Chart of All Claims Submitted by Holter Labs                                    USA_002371
86          85 Summary Chart of Claims for Beneficiaries                                               USA_001588
87          86 Articles of Conversion of Holter Labs, 3/15/2013                                        USA_000368-000374
88          87 Articles of Organization, 3/15/2012                                                     USA_000367
89          88 Fictitious Business Name Statement ofr Murrieta Medical Supply, 1/30/07                 USA_001309-1310
90          89 Summary Chart of Assets and Bank Accounts                                               USA_029118
91          90 Summary Chart of Flow of Funds                                                          USA_0029119
92          91 Summary Chart of Holter Labs Chase Bank Distributions                                   USA_025521
93          92 Summary Chart of Holter Labs Claims to Anthem Since October 2016
94          93 Murrieta Medical Deposit Records                                                        USA_001548-001587
95          94 Summary Chart of Indictment Counts
96          95 Summary Chart of Patient Claims                                                         USA_0029120
97          96 Audi Wilsonville Records                                                                USA_23191-023205
98          97 Bank of the West Records                                                                USA_003144-003171
99          98 Bank of the West Records                                                                USA_003710-003753
100         99 Chase Bank Signature Card for Holter Labs Account                                       USA_016042
101        100 Chase Bank Signature Card for Michael Mirando Account                                   USA_006578
102        101 Chase Bank Signature Card for Pelagic Properties of Mississippi Account                 USA_016777
103        102 Chase Bank Signature Card for Pelagic Properties of South Carolina Account              USA_017227
104        103 Chicago Title Company of Oregon Escrow Documents for 9324 NW Finzer Ct                  USA_004280-004343
105        104 Uniform Residential Loan Application                                                    USA_018214-018219
106        105 Vanguard Redemption Checks                                                              USA_023186-023188
107        106 Bank of the West Wire Transfers                                                         USA_003825-003828




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9
     Attorneys for Plaintiff
10   UNITED STATES OF AMERICA

11                             UNITED STATES DISTRICT COURT

12                       FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                    No. CR 16-215-PA

14               Plaintiff,                       TRIAL MEMORANDUM

15                     v.                         Trial Date:      April 25, 2017
                                                  Trial Time:      8:30 a.m.
16   MICHAEL MIRANDO,                             Location:        Courtroom of the
                                                                   Hon. Percy Anderson
17               Defendant.

18

19         Plaintiff United States of America, by and through its counsel
20   of record, the Acting United States Attorney for the Central District
21   of California and Assistant United States Attorneys Michael G.
22   Freedman and Katherine A. Rykken, hereby submits its trial memorandum
23   in the above-captioned case.
24         The government reserves the right to submit supplemental trial
25   memoranda as appropriate before, or during, the trial.
26

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1     Dated: April 21, 2017                   Respectfully submitted,

2                                             SANDRA R. BROWN
                                              Acting United States Attorney
3
                                              LAWRENCE S. MIDDLETON
4                                             Assistant United States Attorney
                                              Chief, Criminal Division
5

6                                                   /s/Michael G. Freedman
                                              MICHAEL G. FREEDMAN
7                                             KATHERINE A. RYKKEN
                                              Assistant United States Attorney
8
                                              Attorneys for Plaintiff
9                                             UNITED STATES OF AMERICA

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1                                      TRIAL MEMORANDUM
2    I.    STATUS OF THE CASE
3          A.    Trial Schedule
4          Jury trial against defendant Mirando (“Mirando” or “defendant”)

5    is set for April 25, 2017, at 8:30 a.m.

6          B.    Length of Trial
7          The estimated time for the presentation of the government’s

8    case-in-chief is approximately three to five days.

9          C.    Pre-Trial Status of Defendant
10         Defendant is on bond pending trial.

11         D.    Jury Trial
12         Jury trial has not been waived.

13         E.    Witnesses
14         At this time, the government expects to call approximately 14 1

15   witnesses in its case-in-chief.           The witnesses are listed below in

16   the approximate 2 order the government expects to call the witnesses:

17         1.    Jon Barron – CEO and President of Datrix Labs

18
          1 As noted at the April 17, 2017 status conference, the parties
19   are attempting to reach an agreement regarding a stipulation as to
     the admissibility of summary charts based upon insurance claims
20   records previously produced to defendant. Defendant, however, has
     raised a question as to the authenticity of these insurance claims
21   records, and in the event the parties do not enter into a
     stipulation, the government may need to call up to an additional 35
22   witnesses to authenticate these insurance claims records.
23         2As the government also noted at the April 17, 2017 status
     conference, it is attempting to more precisely estimate the time
24   needed for each witness’ testimony and thus now estimates that its
     case-in-chief will take three to five days, assuming the stipulation
25   discussed above, rather than four to six days. With respect to the
     order of witnesses, the government is still coordinating scheduling
26   with witnesses and expects that the order in which the government
     calls witnesses may still be adjusted further. Finally, the
27   government has not yet determined whether the testimony of all
     currently anticipated witnesses will prove necessary and therefore
28   may decide during trial not to call certain witnesses, specifically
     Stanton Crowley.

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1          2.    Martha Bennett – Patient/beneficiary

2          3.    Ronald Richmond – Bennett’s doctor

3          4.    John Hattrup - Patient/beneficiary

4          5.    Gregory Joy – Hattrup’s doctor

5          6.    Suzanne Darsow – Representative of United Health Care,

6                Bennett and Hattrup’s insurer

7          7.    Lisa Solmor – Patient/beneficiary

8          8.    Ruby Simpkins – Solmor’s doctor

9          9.    Robin Consiglio – Representative of Aetna, Solmor’s insurer

10         10.   Stacey Foster Sixtos – Patient/beneficiary

11         11.   Jeffrey Globus – Foster Sixtos’ doctor

12         12.   Emily Russell      - Representative of Cigna, Foster’s insurer

13         13.   Stanton Crowley (if needed) – Former co-owner, Holter Labs

14         14.   Kathleen Kennedy – FBI Special Agent

15         The government will update this list, as necessary, in advance

16   of trial.     The government may call additional witnesses in rebuttal,

17   depending on whether defendant calls any witnesses and on what

18   testimony they give.

19   II.   STATEMENT OF THE CHARGE AGAINST DEFENDANT
20         The defendant is charged in the indictment with fifteen counts

21   of violating 18 U.S.C. § 1347 (health care fraud) and 18 U.S.C.

22   § 2(b) (causing an act to be done).

23   III. STATEMENT OF FACTS
24         The government expects that the evidence at trial will establish

25   the following facts: From approximately January 2005 to April 2016,

26   defendant engaged in a scheme to defraud health insurance companies

27   (legally defined as health care benefit programs or “HCBPs”).

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1    Defendant was a member and owner of Holter Labs, LLC (“Holter Labs”),

2    which he formed in 2005 with Stanton Crowley (“Crowley”).

3          Holter Labs provided cardiac monitoring services to doctors.

4    Holter Labs provided a digital recorder, called a holter recorder, to

5    doctors for use on their patients.             The recorder is a portable device

6    that monitors cardiovascular activity for 24 or 48 hours.                  The

7    device records electrical signals from the heart via a series of

8    electrodes attached to the chest.           The most common use of a holter

9    recorder is to monitor heart activity for electrocardiography

10   (“ECG”).    Jon Barron, the manufacturer of the holter devices used by

11   Holter Labs, will testify to these details.

12         When doctors prescribed a holter recorder to their patients, the

13   doctors filled out an order form provided by Holter Labs, indicating

14   whether they were prescribing a 24-hour or 48-hour use of the device.

15   After the patient returned the device to the doctor’s office, the

16   doctor’s office sent the data from the device to Holter Labs.

17   Crowley, as Holter Lab’s technician, used a software program to

18   create a medical report using the data retrieved from the device.                    He

19   then completed a quality control review of the report and uploaded it

20   to Holter Labs’ website for the physician to access.               Crowley then

21   sent to defendant, often via e-mail, the information for that

22   patient, including the patient’s name, and insurance information.

23   Typically, Crowley included in the e-mail a copy of the order form

24   and the first page of the medical report.             Defendant’s

25   responsibilities were to handle all of the other business activities

26   for Holter Labs, including purchasing the recorders, advertising,

27   managing the company’s finances, and submitting the medical claims to

28   the patients’ insurance companies.             These facts will be established

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1    at trial through examples of the documents referenced and, if

2    necessary, through Crowley’s testimony.

3          Defendant billed the patient’s insurance companies using the

4    Current Procedural Terminology (“CPT”) set, which is a medical code

5    set maintained by the American Medical Association.               The CPT code set

6    describes medical, surgical, and diagnostic services and is designed

7    to communicate uniform information about medical services and

8    procedures among providers, beneficiaries, and HCBPs.                CPT codes

9    define the services rendered.          The CPT codes are used by health care

10   benefit programs in medical billings.

11          Defendant appropriately billed for a number of services

12   rendered with legitimate CPT codes, including the medical services

13   associated with the following CPT codes: 93226 (external

14   electrocardiogram recording up to 48 hours); and 93799 (unlisted

15   cardiovascular service or procedure).            But defendant often billed for

16   these same services on multiple dates of service, when, as the

17   patients and doctors will testify, the service associated with that

18   CPT code was only performed on a single date.

19         Defendant also billed for services that the holter devices never

20   performed and, in many cases, were incapable of performing.                 The five

21   fraudulent CPT codes were: 93025 (microvolt T-wave alternans for

22   assessment of ventricular arrhythmias); 93229 (remote 30 day

23   electrocardiogram with tech support); 93271 (patient activated

24   external electrocardiogram recording with remote download capability

25   up to 30 days); 95806 (sleep study with simultaneous recording of

26   heart rate, oxygen saturation, respiratory airflow, and respiratory

27   effort); and 95827 (night electroencephalogram for measuring brain

28   waves).    The patients will testify that they never used these

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1    services.     The doctors will testify that they never prescribed these

2    services.     The doctors’ records and the order forms submitted to

3    Holter Labs will confirm that the doctors only prescribed 24-hour use

4    of the device on a single occasion for each patient.

5          Over the course of the scheme, defendant submitted claims to

6    insurance companies for approximately $7.3 million and was paid

7    approximately $2.6 million on these claims by the insurance

8    companies.     The fraudulent billings represent approximately 82% of

9    the total billings, or approximately $6 million in fraudulent claims

10   and approximately $2.3 million in payments.             The insurance company

11   representatives will explain the insurance claims process and testify

12   that they paid Holter Labs for claims that defendant submitted, which

13   included the CPT codes for services never performed.               The claims

14   records will demonstrate defendant’s use of the fraudulent CPT codes,

15   including his description of the services purportedly performed on

16   certain dates, and, in certain cases, banking records will show

17   payment by the insurance companies to Holter Labs for these claims.

18         Holter Labs deposited the majority of the money received from

19   insurance companies into its primary business bank account at Chase

20   Bank, but defendant transferred large amounts of money from this

21   account into a company he created called Murrieta Medical Supply.

22   From Murrieta Medical Supply, defendant transferred significant sums

23   of money into personal accounts of his own, and then used that money

24   to invest in real estate around the country and internationally.                     The

25   summary charts of these bank records will show these transfers.

26   IV.   ELEMENTS OF THE OFFENSE AND PERTINENT LAW
27         Defendant is charged with 15 counts of health care fraud.

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1          A.    Elements
2                1.     Health Care Fraud

3          Counts one through fifteen charge defendant with health care

4    fraud, in violation of 18 U.S.C. § 1347, which has the following

5    elements: (1) defendant knowingly and willfully participated in or

6    devised a scheme or plan to defraud a health care benefit program, or

7    a scheme or plan for obtaining money or property from a health care

8    benefit program, by means of false or fraudulent pretenses,

9    representations, or promises; (2) the statements made or facts

10   omitted as part of the scheme were material; that is, they had a

11   natural tendency to influence, or were capable of influencing, a

12   person to part with money or property of a health care benefit

13   program; (3) the defendant acted with the intent to defraud; that is,

14   the intent to deceive or cheat; and (4) the scheme involved the

15   delivery of or payment for health care benefits, items, or services.

16   See Ninth Circuit Model Criminal Jury Instruction No. 8.121 (2010)

17   (modified for health care fraud).

18               2.     Causing an Act to be Done

19         Title 18, United States Code, Section 2(b) provides: whoever

20   willfully causes an act to be done which if directly performed by him

21   or another would be an offense against the United States, is

22   punishable as a principal.

23         Under 18 U.S.C. § 2(b), a person who willfully causes another

24   person to commit a criminal act is guilty as a principal regardless

25   of whether the person actually committing the criminal act intended

26   to commit, or knew that he or she was committing, a criminal act.

27   United States v. Laurins, 857 F.2d 529, 535 (9th Cir. 1988).                  To

28   prove defendant guilty under this theory, the government must prove

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1    the following elements: (1) health care fraud was committed by

2    someone and (2) defendant willfully ordered, directed, or otherwise

3    brought about the commission of health care fraud.               18 U.S.C. § 2(b)

4    (modified to specify defendant charged with health care fraud); see

5    also Laurins, 857 F.2d at 535 (intent of person actually performing

6    proscribed act is immaterial under 18 U.S.C. § 2(b); what matters is

7    defendant’s intent).

8          B.    HCBPs
9          The term “health care benefit program” means any public or

10   private plan or contract, affecting commerce, under which any medical

11   benefit, item, or service is provided to any individual, and includes

12   any individual or entity who is providing a medical benefit, item, or

13   service for which payment may be made under the plan or contract.                    18

14   U.S.C. § 24.

15         C.    Knowledge
16         A defendant acts knowingly if the defendant is aware of the act

17   and does not act or does not fail to act through ignorance, mistake,

18   or accident.     See Ninth Circuit Model Criminal Jury Instruction No.

19   5.6 (2010 ed.).      In deciding whether a person acted knowingly, the

20   jury may consider evidence of his words, acts, or omissions, along

21   with all the other evidence.         Id.

22         D.    Willfully
23         A defendant acts willfully if he committed the act voluntarily

24   and purposely, and with knowledge that his conduct was, in a general

25   sense, unlawful.      See 18 U.S.C. § 1347(b); 42 U.S.C. § 1320a-

26   7b(b)(h); Ninth Circuit Model Criminal Jury Instruction No. 5.5 (2010

27   ed.); Bryan v. United States, 524 U.S. 184, 189-91, 193-96, 198-99

28   (1998); United States v. Awad, 551 F.3d 930, 937-41 (9th Cir. 2009).

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1          E.     Scheme to Defraud
2          A scheme to defraud includes any plan or course of conduct

3    “reasonably calculated to deceive persons of ordinary prudence and

4    comprehension.”      United States v. Green, 745 F.2d 1205, 1207 (9th

5    Cir. 1984); Irwin v. United States, 338 F.2d 770, 773 (9th Cir. 1964)

6    (same).     The government is not required to prove that defendant’s

7    scheme was successful, or that he actually caused any victim (i.e.,

8    Medicare) to lose money or property.           See United States v. Utz, 886

9    F.2d 1148, 1151 (9th Cir. 1989).

10         F.     Fraudulent Intent
11         Acting with “intent to defraud” means an intent to obtain money

12   or property from someone by deceiving or cheating them.                Ninth

13   Circuit Model Criminal Jury Instructions, No. 3.16 (2010 ed.); see

14   Carpenter v. United States, 484 U.S. 19, 27 (1987).               In other words,

15   it is knowingly acting with the intention or purpose to deceive or

16   cheat.     Carpenter, 484 U.S. at 27.

17         Fraudulent intent may be, and often must be, shown by

18   circumstantial evidence.        See United States v. Jones (Jones II), 425

19   F.2d 1048, 1058 (9th Cir. 1970).          Because of the difficulty in

20   proving intent, any proof properly connected to a defendant that

21   establishes the manner in which the fraudulent scheme was carried

22   into execution is admissible.          United States v. Amrep Corp. (Amrep

23   I), 545 F.2d 797, 800 (2d Cir. 1976).

24         A defendant need not intend to cause an actual loss to be guilty

25   of fraud.     Carpenter v. United States, 484 U.S. 19, 26-27 (1987);

26   United States v. Oren, 893 F.2d 1057, 1061-1062 (9th Cir. 1990).

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1          G.    No Anticipated Defense Case
2          During the April 10 and 17 status conferences with the Court,

3    the government was informed that defendant does not anticipate

4    presenting any witnesses in its case-in-chief at this time.

5    V.    LEGAL AND EVIDENTIARY ISSUES
6          At trial, the government intends to introduce into evidence,

7    among other things, documents, summary charts, and testimony from

8    percipient witnesses (i.e., Barron, the device manufacturer;

9    patients/beneficiaries; doctors; and Crowley, if necessary);

10   insurance company representatives; and Special Agent Kennedy, the

11   case agent, who will testify regarding the summary charts and other

12   records obtained during the investigation.

13         A.    Trial Exhibit Stipulations
14         The parties are attempting to reach stipulations concerning the

15   admissibility of certain categories of exhibits: (1) summary charts

16   of Holter Labs’ and defendant’s bank records, which defendant has

17   stated he will stipulate to; (2) summary charts of claims data from

18   insurance companies, which defendant has stated he will stipulate to

19   once authenticity is established; and (3) various bank, legal,

20   public, and business records obtained during the investigation.

21         B.    Patient Files and Medical Records
22         The government intends to introduce into evidence patient files

23   and medical records (with redactions to preserve patient privacy)

24   that were obtained pursuant to subpoenas and administrative requests.

25   None of the documents in these patient files contain hearsay

26   statements because they are statements of medical diagnosis or

27   treatment and describe medical histories, see Fed. R. Evid. 803(4)

28   (statements for medical diagnosis or treatment not hearsay).

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1          C.     Victim Agency Testimony by HCBPs
2          The government intends to call three witnesses who work for the

3    insurance company victims.         The government anticipates that these

4    witnesses will testify about, among other things, how insurance

5    companies operate and how they would not have authorized payments for

6    fraudulent claims submitted by defendant had they known the truth.

7    This kind of testimony is proper in fraud scheme prosecutions because

8    it goes to the victim’s state of mind, and demonstrates whether the

9    scheme was capable of misleading the victim.             See Phillips v. United

10   States, 356 F.2d 297, 307-09 (9th Cir. 1965).

11         Moreover, as representatives of the victim of the fraud, these

12   witnesses may answer hypothetical “what if” or “if you had known”

13   questions regarding whether the insurance companies would have paid

14   for the services at issue in this case if they had known of certain

15   facts.     Such testimony tends to prove the existence of the scheme to

16   defraud, the effect that the concealed facts would have had on the

17   insurance companies had they known them, the materiality of the

18   concealed facts, and the deceptive nature of the representations or

19   omissions.     See United States v. Ranney, 719 F.2d 1183, 1187-89 (1st

20   Cir. 1983); United States v. Bush, 522 F.2d 641, 649-51 (7th Cir.

21   1975).     While the government is not required to prove that the

22   insurance companies were actually defrauded, it may use as proof

23   testimony that the scheme did, in fact, deceive the insurance

24   companies.     See Phillips, 356 F.2d at 308.

25         D.     Charts and Summaries
26         Certain portions of the case involve a large number of documents

27   and voluminous records, in particular, records of insurance claims

28   defendant submitted and bank records of Holter Labs’ and defendant’s.

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1    The underlying records have been produced to defendant in discovery.

2    To assist in the jury’s understanding of the case, the government

3    intends to present and introduce as exhibits charts and summaries of

4    those materials, to save time at trial and to avoid the need to

5    present the voluminous records themselves.

6          The contents of voluminous writings, recordings, or
           photographs which cannot conveniently be examined in court
7          may be presented in the form of a chart, summary, or
           calculation. The originals, or duplicates, shall be made
8          available for examination or copying, or both, by the
           parties at a reasonable time and place. The court may
9          order that they be produced in court.

10   Fed. R. Evid. 1006; see also United States v. Meyers, 847 F.2d 1408,

11   1411-12 (9th Cir. 1988); United States v. Johnson, 594 F.2d 1253,

12   1255-57 (9th Cir. 1979).        While the underlying documents must be

13   admissible, they need not be admitted.            See Meyers, 847 F.2d at 1412;

14   Johnson, 594 F.2d at 1257 n.6.          Summary charts need not contain the

15   defendant's version of the evidence and may be given to the jury

16   while a government witness testifies concerning them.                See United

17   States v. Radseck, 718 F.2d 233, 239 (7th Cir. 1983); Barsky v.

18   United States, 339 F.2d 180, 181 (9th Cir. 1964).

19         Summary exhibits, such as those the government wishes to

20   introduce into evidence, are admissible under Fed. R. Evid. 611(a)

21   and have long been recognized as an appropriate means of clarifying a

22   complicated or document-intensive case for the jury.               See United

23   States v. Silverman, 449 F.2d 1341, 1346 (2d Cir. 1971).                Fed. R.

24   Evid. 611(a) permits a court to “exercise reasonable control over the

25   mode and order of interrogating witnesses and presenting evidence so

26   as to (1) make the interrogation and presentation effective for

27   ascertainment of the truth, (2) avoid needless consumption of time,

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1    and (3) protect witnesses from harassment or undue embarrassment.”

2    See United States v. Gardner, 611 F.2d 770, 776 (9th Cir. 1980).

3          Hence, under Federal Rules of Evidence 1006 and 611(a), courts

4    routinely admit into evidence summary charts that organize other

5    evidence and aid the jury’s understanding, as long as the underlying

6    evidence is admissible, has been made available to the adverse party,

7    and a witness with knowledge of the preparation of the chart or

8    summary is available for cross-examination.             See Gardner, 611 F.2d at

9    776; Tamarin v. Adam Caterers, Inc., 13 F.3d 51, 53 (2d Cir. 1993);

10   United States v. Caswell, 825 F.2d 1228, 1235-36 (8th Cir. 1987).

11         The summary exhibits the government intends to present satisfy

12   all of the foregoing requirements.             The pertinent evidence, involving

13   claims data, bank account transactions, and related evidence, is

14   admissible and has been produced to the defendant in discovery.                  The

15   government has advised defense counsel of its intention to use

16   summary charts and has made drafts of such charts available to

17   counsel.    The government will provide final versions to counsel prior

18   to introducing them at trial.          The summary witness, Special Agent

19   Kennedy, will be available for cross-examination.               Moreover, the

20   summary exhibits will serve to organize and clarify the government’s

21   presentation and assist the jury’s understanding of the case.                  The

22   use and admission of summary exhibits at trial is thus appropriate.

23   Fed. R. Evid. 611(a); Gardner, 611 F.2d at 776.

24         E.    Business Records
25         In addition to the business records underlying the summary

26   charts, the government also expects to seek to admit certain business

27   records themselves, including doctors’ records; insurance company

28   claims records and data; and certain bank records.

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1                1.     Foundational Requirements

2          The parties expect to stipulate to foundation, authenticity, and

3    admission of certain business records (i.e., records of regularly

4    kept activities), such as bank statements reflecting defendant’s and

5    others’ financial transactions as well as insurance claims data.                     If

6    the parties do not agree to a stipulation, the following facts must

7    be established through the custodian of the records or another

8    qualified witness: (1) the records must have been made at or near the

9    time by, or from information transmitted by, a person with knowledge;

10   and (2) the records must have been made and kept in the course of a

11   regularly conducted business activity. Fed. R. Evid. 803(6); United

12   States v. Bland, 961 F.2d 123, 126-28 (9th Cir. 1992).                In

13   determining whether these foundational facts are established, the

14   court may consider hearsay and other evidence not admissible at

15   trial.    See Federal Rules of Evidence 104(a) & 1101(d)(1); Bourjaily

16   v. United States,       483 U.S. 171, 178-79 (1987).

17         Challenges to the accuracy or completeness of business records

18   ordinarily go to the weight of the evidence and not its

19   admissibility.      See, e.g., La Porta v. United States, 300 F.2d 878,

20   880 (9th Cir. 1962).

21               2.     “Qualified Witness”

22         Even without a stipulation by the parties of certain business

23   records, the phrase “other qualified witness” is broadly interpreted

24   to require only that the witness understand the recordkeeping system.

25   United States v. Childs, 5 F.3d 1328, 1334 (9th Cir. 1993); United

26   States v. Ray, 930 F.2d 1368, 1370-71 (9th Cir. 1990) (welfare fraud

27   investigator may testify about contents of defendant’s welfare file

28   where investigator was familiar with filing and reporting

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1    requirements and forms used, even though she did not record

2    information and was not custodian); United States v. Franco, 874 F.2d

3    1136, 1139 (7th Cir. 1989) (“The witness ‘need only be someone with

4    knowledge of the procedure governing the creation and maintenance of

5    the type of records sought to be admitted.’”).

6          A qualified witness need not be employed by, or related to, the

7    entity to whom the records belong; a federal agent or an independent

8    witness may be a qualified witness for records seized from a company.

9    United States v. Hathaway, 798 F.2d 902, 905-07 (6th Cir. 1986) (FBI

10   agent could provide foundation testimony for admission of company

11   records under Rule 803(6) as “there is no reason why a proper

12   foundation for application of Rule 803(6) cannot be laid, in part or

13   in whole, by the testimony of a government agent or other person

14   outside the organization whose records are sought to be admitted. . .

15   . [A]ll that is required is that the witness be familiar with the

16   record keeping system.”).

17               3.     Circumstances of Preparation

18         Even without a stipulation by the parties as to certain business

19   records, the government need not establish precisely when or by whom

20   the document was prepared; all the rule requires is that the document

21   be made “at or near the time” of the act or event it purports to

22   record. See United States v. Huber, 772 F.2d 585, 591 (9th Cir.

23   1985); United States v. Basey, 613 F.2d 198, 201 n.1 (9th Cir. 1979).

24   “There is no requirement that the government establish when and by

25   whom the documents were prepared.”             See Ray, 930 F.2d at 1370; Huber,

26   772 F.2d at 591 (“[T]here is no requirement that the government show

27   precisely when the [record] was compiled”).

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1          Rule 803(6) does not require that the business rely on the

2    document in a specific way; the rule merely requires that the record

3    be “kept in the course of regularly conducted business activity.”

4    See United States v. Catabran, 836 F.2d 453, 457 (9th Cir. 1988)

5    (citing United States v. Miller, 771 F.2d 1219, 1237 (9th Cir. 1985);

6    United States v. Smith, 609 F.2d 1294, 1301 (9th Cir. 1979)).

7                4.     Authentication by Declaration

8          Likewise, certified domestic records of regularly conducted

9    activity are self-authenticating when accompanied by a written

10   declaration establishing that (1) the records must have been made at

11   or near the time by, or from information transmitted by, a person

12   with knowledge; and (2) the records must have been made and kept in

13   the course of a regularly conducted business activity.                Fed. R. Evid.

14   902(11).    Custodian of records declarations may be utilized by the

15   court to provide a foundation for the admission in evidence of

16   business records without creating any confrontation issue under

17   Crawford v. Washington, 541 U.S. 36 (2004).             See United States v.

18   Hagege, 437 F.3d 943, 957 (9th Cir. 2006).

19               5.     Certified Public Records

20         The parties also hope to agree to a stipulation to the

21   foundation, authenticity, and admission of public records, such as

22   court filings and corporate filings.           Even without a stipulation,

23   certain public records in the form of domestic public documents under

24   seal, or certified copies of public records, which do not require

25   extrinsic evidence of authenticity as a condition precedent to

26   admissibility are admissible.          Fed. R. Evid. 902(1) and 902(4).          Such

27   records are self-authenticating, Fed. R. Evid. 902(4), and not

28   hearsay, Fed. R. Evid. 803(8).

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1          F.    Pecuniary Gain
2          The government intends to show that defendant made money during

3    the course of the fraudulent scheme, which is admissible to show his

4    participation in the fraud.         See United States v. Saniti, 604 F.2d

5    603, 604 (9th Cir. 1979).         The receipt and use of money derived from

6    the scheme is also circumstantial evidence of fraud.               See United

7    States v. Booth, 309 F.3d 566, 574 (9th Cir. 2002).

8          G.    Cross Examination
9          The scope of a cross-examination is within the discretion of the

10   trial court.     Fed R. Evid. 611(b).          It should be limited to the

11   subject matter of the direct examination and matters affecting the

12   credibility of the witness.         The trial court may, in the exercise of

13   its discretion, permit inquiry into additional matters as if on

14   direct examination.       Fed. R. Evid. 611(b).

15         On April 10 and April 17, 2017, defense counsel represented to

16   the court that the defendant in this case did not plan to testify on

17   his own behalf.      Importantly, if the defendant reverses his decision,

18   a defendant who testifies at trial may be cross-examined as to all

19   matters reasonably related to the issues he puts in dispute during

20   cross-examination.       United States v. Miranda-Uriarte, 649 F.2d 1345,

21   1353-54 (9th Cir. 1981).        A defendant has no right to avoid cross-

22   examination on matters which call into question his claim of

23   innocence.     Id.   Moreover, a defendant who testifies at trial waives

24   his Fifth Amendment privilege and may be cross-examined on matters

25   made relevant by his direct testimony.            United States v. Black, 767

26   F.2d 1334, 1341 (9th Cir. 1985).

27         The scope of defendant’s waiver is coextensive with the scope of

28   relevant cross-examination.         United States v. Cuozzo, 962 F.2d 945,

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1    948 (9th Cir. 1992); Black, 767 F.2d 1334, 1341 (9th Cir. 1985).                     The

2    extent of the waiver is determined by whether the question reasonably

3    relates to subjects covered by defendant’s direct testimony.                  United

4    States v. Hearst, 563 F.2d 1331, 1340 (9th Cir. 1977).                Federal Rule

5    of Evidence 608(b) provides that:

6          [E]xtrinsic evidence is not admissible to prove specific
           instances of a witness’s conduct in order to attack or support
7          the witness’s character for truthfulness. But the court may, on
           cross-examination, allow them to be inquired into if they are
8
           probative of the character for truthfulness or untruthfulness of
9          (1) the witness; or (2) another witness whose character the
           witness being cross-examined has testified about.
10

11         The defendant’s credibility will be crucial if he chooses to

12   testify.    Accordingly, cross-examination of the defendant about other

13   fraudulent conduct in which he may have engaged is necessary for the

14   jury to weigh whether his denial of knowledge and fraudulent conduct

15   is credible given any other actions.           As the Ninth Circuit has held,

16   Rule 608(b) “specifically contemplates inquiries into prior behavior

17   in order to challenge a witness’s credibility.              Evidence of prior

18   frauds is considered probative of the witness’s character for

19   truthfulness or untruthfulness.”          United States v. Gay, 967 F.2d 322,

20   328 (9th Cir. 1992).       Additionally, Fed. R. Evid. 404(b) does not

21   proscribe the use of other act evidence as an impeachment tool during

22   cross-examination.       Id.

23         H.    Defense Witnesses

24         Defendant has not identified any witnesses he intends to call.

25   In fact, as of April 17, 2017, the defendant has indicated through

26   counsel that he does not plan to call any witnesses.               To the extent

27   defendant changes his mind and elects to call witnesses at trial, the

28   government requests that the Court order defendant to provide an

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1    offer of proof with respect to the anticipated testimony of those

2    witnesses so that the government may assess whether their testimony

3    would be relevant and otherwise admissible, and whether their

4    testimony would implicate any Fifth Amendment rights those witnesses

5    might have, before the witnesses take the stand.

6    VI.   RECIPROCAL DISCOVERY
7          Rule 16 of the Federal Rules of Criminal Procedure creates

8    certain reciprocal discovery obligations on the part of defendants to

9    produce three categories of materials that he or she intends to

10   introduce as evidence at trial: (1) documents and tangible objects;

11   (2) reports of any examinations or tests; and (3) expert witness

12   disclosure.     Rule 16 imposes on defendants a continuing duty to

13   disclose these categories of materials.            Fed. R. Crim. P.

14   16(b)(1)(A), (b)(1)(C), and (c).          In those circumstances where a

15   party fails to produce discovery as required by Rule 16, the rule

16   empowers the district court to “prohibit the party from introducing

17   evidence not disclosed, or it may enter such other order as it deems

18   just under the circumstances.”          Fed. R. Crim. P. 16(d)(2)(C) and (D).

19         The Ninth Circuit has held that where a defendant fails to

20   produce reciprocal discovery or fails to provide timely notice of his

21   or her intention to call an expert witness, it is well within the

22   district court's discretion to exclude such defense evidence,

23   especially where the defense disclosure was made after the start of

24   trial.    See United States v. Scholl, 166 F.3d 964, 972 (9th Cir.

25   1999) (upholding district court’s decision to exclude defense

26   evidence due to defendant’s strategic decision to withhold discovery

27   until the last minute); United States v. Aceves-Rosales, 832 F.2d

28   1155, 1156-57 (9th Cir. 1987) (holding that district court did not

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1    abuse its discretion in precluding medical report that the defense

2    wished to introduce in case-in-chief but which it disclosed for the

3    first time after the government had rested); United States v. Moore,

4    208 F.3d 577, 578 (7th Cir. 2000) (“courts are entitled to exclude

5    evidence that should have been produced during reciprocal discovery

6    in criminal cases”).

7          As of the filing of this brief, defendant has provided to the

8    government approximately 500-600 pages of documents, some of which he

9    has stated he may seek to use at trial.            Defendant has not provided

10   notice of his intention to call an expert witness and has stated to

11   the Court on April 10 and April 17, 2017 that he does not expect to

12   call an expert witness.

13   VII. CONCLUSION
14         The government respectfully requests permission to file

15   additional trial memoranda if necessary.

16    Dated: April 21, 2017                  Respectfully submitted,

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